Case 1:25-cv-00039-JJM-PAS   Document 68-106   Filed 02/07/25   Page 1 of 155
                              PageID #: 5106




               Thomas-Jensen
                Affirmation
                 (redacted)


                   Exhibit # 106
 Case 1:25-cv-00039-JJM-PAS             Document 68-106           Filed 02/07/25   Page 2 of 155
                                         PageID #: 5107



                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND




 STATE OF NEW YORK; et al.,

                 Plaintiffs,

         v.                                                   C.A. No. 1:25-cv-00039-JJM-PAS

 DONALD TRUMP, in his official capacity as
 President of the United States; et al.,

                 Defendants.




                     DECLARATION OF EMILY CAHOON-HORVATH

I, Emily Cahoon-Horvath, hereby depose and state as follows:

       1.      I am the Chief Financial Officer at the Rhode Island Department of Environmental

Management (“DEM”). I have worked at DEM for almost seven years and have held my current

position since July 2023. Prior to my promotion, I was the Deputy Chief Financial Officer at DEM

and was responsible for DEM’s full catalog of federal grants. Before working at DEM, I spent 17

years at the Rhode Island Department of Health, in various financial management positions

including federal grant management. I make this declaration as a representative of DEM, in part

based on the business records of DEM and in part based on my personal knowledge, experience,

and other sources of information I have obtained and reviewed in my official capacity. Based on

these sources of information, I am familiar with and, if called upon to do so, would be competent

to testify to the facts and circumstances set forth herein.

       2.      It is my understanding that starting on January 20, 2025, President Donald Trump

issued a series of executive orders and Defendants undertook certain actions in accordance with
 Case 1:25-cv-00039-JJM-PAS            Document 68-106        Filed 02/07/25      Page 3 of 155
                                        PageID #: 5108



those executive orders. Together, these actions caused various disruptions to federal financial

assistance to Rhode Island. Below, I describe the specific disruptions that DEM has experienced

thus far and the impact of these disruptions.

       3.      As background, DEM and the State of Rhode Island incur federal program expenses

in advance of reconciliation and reimbursement per our federal funding award agreements, 2 C.F.R.

§ 200, and internal policies and procedures. Any changes to grant terms or amounts have only

occurred through updates to the official Notice of Award and require advance notice from the

federal agency. 2 C.F.R. § 200.208 (Specific Conditions) and 2 C.F.R. § 200.339 (Remedies for

noncompliance) reference circumstances when a federal agency can impose conditions on an

award recipient as well as the process the federal agency must follow.

       4.      As of the date of this filing, DEM has not been informed that there have been issues

with their compliance or performance expectations with regard to any of the federal funding

agreements discussed below.

       5.      In my approximately 23 years working in Rhode Island in multiple financial roles

including federal grant management, I have not encountered interruptions in funding as DEM has

in the past two weeks. There has never been an instance of denial of federal funding spent in

accordance with active obligations in any of my 23 years of experience.

       I.      Specialty Crop Block Grant Program

               A. Background

       6.      Over the past several years, Rhode Island has applied for and received funding

through the Specialty Crop Block Grant (“SCBG”) program administered by the U.S.

Department of Agriculture (“USDA”). The purpose of the SCBG program is to improve the

competitiveness of U.S. specialty crop producers and increase the consumption of specialty
 Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25      Page 4 of 155
                                        PageID #: 5109



crops, which are defined as fruits and vegetables, dried fruit, tree nuts, and nursery crops

including floriculture such as Christmas trees, cut flowers, honey, hops, and turf grass

production.

       7.      The vast majority of Rhode Island agriculture meets the USDA definition of

“specialty crops” and the SCBG program is the primary program DEM uses to support this

industry.

       8.      Through these SCBG programs, DEM provides grants to subrecipients. DEM has

previously received several grants from the SCBG program, including in 2021, 2022, 2023, and

2024. These four awards total approximately $1,175,580 and less than half of this funding has

been spent to date. DEM is currently soliciting applications for its 2025 SCBG program.

       9.      In 2024, SCBG provided an award of $270,657.79. The grant’s performance

project period began on September 30, 2024, and ends on September 29, 2027. DEM has not yet

spent or invoiced any funds related to the 2024 SCBG. A true and accurate copy of the 2024

SCBG award is attached hereto as Exhibit A.

       10.     In 2023, SCBG provided an award of $270,666.42. The grant’s performance

project period began on September 30, 2023, and ends on September 29, 2026. To date,

$14,649.34 of the 2023 grant has been spent and $12,762.60 has been invoiced. A true and

accurate copy of the 2023 SCBG award is attached hereto as Exhibit B.

       11.     In 2022, SCBG provided an award of $270,342.13. The grant’s performance

period began on September 30, 2022, and ends on September 29, 2026. To date, $213,455.20 of

the 2022 grant has been spent and $192,388.34 has been invoiced. A true and accurate copy of

the 2022 SCBG award is attached hereto as Exhibit C.
 Case 1:25-cv-00039-JJM-PAS           Document 68-106         Filed 02/07/25      Page 5 of 155
                                       PageID #: 5110



       12.     In 2021, SCBG provided an award of $363,910.51. The grant’s performance

period began on September 30, 2021, and ends on September 29, 2025. To date, $236,661.85 of

the 2021 grant has been spent and $187,660.86 has been invoiced. A true and accurate copy of

the 2021 SCBG award is attached hereto as Exhibit D.

       13.     To access the money available through the SCBG program, DEM requests funds

through Payment Management Services (“PMS”), which provides financial and administrative

services related to federal agency grant payments as well as cash management. Requests for

funds through PMS can only be submitted after DEM has incurred the costs.

               B. Recent Developments

       14.     On January 30, 2025, DEM attempted to draw $71,904.50 from PMS pursuant to

the 2021, 2022, and 2023 SCBG programs.

       15.     Specifically, DEM submitted draws for $49,000.99 from the 2021 SCBG,

$21,006.86 from the 2022 SCBG, and $1,896.74 from the 2023 SCBG. Each draw request was

submitted separately via email. In response to each request, DEM received an email from a Grant

Management Specialist with USDA regarding the status of the three SCBG grants, explaining:

“The agency is still awaiting further guidance, and until we receive additional

information/clearances, payments will continue to be on hold at this time. We are continually

monitoring for updates and will update you as soon as we have received any new information.”

On February 5, 2025, DEM responded to those emails attaching the Temporary Restraining

Order issued in the District of Rhode Island and explaining that it was DEM’s understanding that

the funding associated with the reimbursement requests should be released. DEM further asked

USDA to provide a timeline as to the review, approval, and payment of the draws. True and

correct copies of these email exchanges are attached hereto as Exhibit E.
 Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25      Page 6 of 155
                                        PageID #: 5111



       16.     On February 3, 2025, DEM received an updated email from a Grant Management

Specialist with USDA regarding the status of the three SCBG grants: “The agency is still

awaiting further guidance, and until we receive additional information/clearances, payments will

continue to be on hold at this time. We are continually monitoring for updates and will update

you as soon as we have received any new information.” Regarding the Financial Year 2025

Request for Applications, the USDA Grant Management Specialist stated that they “do not have

any specific dates that [they] can provide at this time” and “will provide further information once

[they] receive it.” A true and accurate copy of this email is attached hereto as Exhibit F.

       17.     DEM has not received any communication from USDA indicating that any of its

SCBG programs were out of compliance with the terms of the grant.

               C. Impact

       18.     DEM’s access to the $72,000 submitted to PMS last week sought to reimburse

expenses that DEM has already incurred. Not receiving federal funds spent in accordance with

the grant award requires DEM to absorb those expenses within the general fund at the expense of

other programs and the State of Rhode Island.

       19.     Moreover, DEM continues to have contractual and subrecipient obligations, who

also continue to incur expenses. DEM cannot immediately terminate contractual agreements, as

this requires a minimum of 30 days’ notice. Without the SCBG federal funds, DEM will have to

consider terminating programs (with proper notice) and cover the cost of existing contractual

obligations.

       20.     These SCBG funds also support several full-time employees within DEM’s

Division of Agriculture and Forest Environment and between 2-4 seasonal intern positions

annually. If these funds are paused indefinitely, these positions may be at risk, and DEM would
 Case 1:25-cv-00039-JJM-PAS            Document 68-106          Filed 02/07/25      Page 7 of 155
                                        PageID #: 5112



be required to work within the State of Rhode Island personnel rules and regulations to

potentially layoff staff associated with this funding. DEM and the State of Rhode Island would

continue to incur expenses throughout this process.

       21.     For each SCBG, DEM has invested significant resources in developing a plan that

would comply with all grant program requirements, help farmers who produce specialty crops,

support Rhode Island’s economy, improve access to fresh and local produce, and provide

opportunities for low-income and disadvantaged Rhode Islanders. These programs provide

significant benefits to Rhode Island citizens and visitors.

       22.     DEM’s 2023 and 2022 SCBG awards support the increased consumption,

knowledge, and growing practices of specialty crops in Rhode Island through specific, notable

projects.

       23.     For example, one project under the 2023 SCBG allows the University of Rhode

Island to research heat tolerant broccoli varieties suitable for the Northeast region and identify

optimal varieties for local production. These research results will be shared with the Rhode

Island vegetable farming community through a combination of events and publications.

       24.     Another project provides funding to the African Alliance of Rhode Island to

increase access to and consumption of specialty crops by expanding its summer farmers markets

in underserved, low-food access communities. It also supports their work to involve young

farmers of color and educate them about the importance of the specialty crops industry to the

local community.

       25.     Additional projects under the 2023 SCBG include funding for the Rhode Island

Food Policy Council to provide training technical assistance for small and beginning specialty

crop producers and for Farm Fresh Rhode Island to partner with farmers market operators for
 Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25      Page 8 of 155
                                        PageID #: 5113



monthly promotions that increase knowledge, access, and purchasing of Rhode Island grown

specialty crops.

       26.     One project under the 2022 SCBG provides funding for the Rhode Island Fruit

Growers Association to install and maintain four weather stations and allow specialty crop

growers to make timely and accurate pest management decisions.

       27.     Another 2022 SCBG program funds the Rhode Island Food Policy Council’s

efforts to provide training and technical support services to small, beginning, and historically

underserved communities of specialty crop producers. These technical support services include

expanded risk identification and mitigation strategies, improved new market access identification

and planning, and food safety strategies, all of which promote economic viability through new

product and market development.

       28.     DEM’s 2022 SCBG also funds (1) Southside Community Land Trust’s outreach

to socially disadvantaged farmers for growing specialty crops to meet underserved markets; (2)

Farm Fresh Rhode Island’s efforts to educate culinary students and bring more local food into

schools; and (3) Rhode Island Farm Incubator’s project to share new integrated cropping

techniques appropriate for use by small scale, organic, and beginning growers in the region.

       29.     DEM’s 2021 SCBG has been used to award 19 mini grants. These grants have

been used for eligible expenses related to COVID-19 that benefit the production and distribution

of Rhode Island specialty crops. These grants specifically relate to food safety, digital marketing,

and direct COVID-19 experiences. Projects include, for example, “Food Safety Practices

Implementation and Community Education” and “Specialty Cut Flowers & Herbs: Increase

Health and Happiness While Decreasing Carbon Footprint.”
 Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25      Page 9 of 155
                                        PageID #: 5114



       30.     If the funds for the SCBG programs are cancelled or substantially further delayed,

these programs will not go forward, and these benefits will be unrealized.

       31.     If the program were to pause indefinitely, and DEM were to later be granted

federal financial assistance, reinstating the programs would take significant time, effort, and

additional investment.

       II.     Climate Pollution Reduction Grant

   A. Background

       32.     DEM receives funding from the federal government through the Climate Pollution

Reduction Grant (“CPRG”) program. This program is administered by the U.S. Environmental

Protection Agency (“EPA”).

       33.     DEM’s CPRG is a $3 million planning grant and was awarded on August 14,

2023. The grant runs through August 14, 2027. A true and accurate copy of the CPRG award is

attached hereto as Exhibit G. A true and accurate copy of the CPRG Work Plan as submitted to

EPA is attached hereto as Exhibit H.

       34.     $2,424,909.30 of the CPRG balance remains unspent available at this time.

$989,746 of the $3 million grant is currently contracted.

       35.     DEM accesses its CPRG funds through ASAP.gov. “ASAP” stands for

“Automated Standard Application for Payments” and is run by the Bureau of the Fiscal Service.

       36.     The CPRG provides funding to DEM to develop a comprehensive, economy-

wide, climate mitigation plan that will support actions to reduce greenhouse gases and harmful

air pollutants and to conduct meaningful community engagement.

       37.     The grant is intended to benefit all residents and visitors to Rhode Island through

three main objectives: (1) tackling damaging climate pollution; (2) accelerating work to address
Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25      Page 10 of 155
                                        PageID #: 5115



environmental injustice and empower community-driven solutions in overburdened

neighborhoods; and (3) delivering cleaner air by reducing harmful air pollution in places where

people live, play, and go to school. See Exhibit G at 4.

       38.     Under the terms of the CPRG, Rhode Island must meet several reporting

requirements. Exhibit G at 6-7. These reporting requirements include the production of a

Comprehensive Climate Action Plan (“CCAP”) (due December 2025) as well as a Status Report

due in the summer/fall of 2027 (at the end of the CPRG grant).

       39.     Rhode Island has another similar report due in December 2025. The Resilient

Rhode Island Act established the Executive Climate Change Coordinating Council (“EC4”). See

RI Gen L § 42-6.2-1. Under state law, following an opportunity for public comment, EC4 must

submit a plan that “includes strategies, programs, and actions to meet economy-wide enforceable

targets” for specific greenhouse gas emission reductions targets, which are outlined in the statute.

RI Gen L § 42-6.2-2(a)(2). EC4 must submit this report (the “2025 Climate Action Strategy”) to

the governor and general assembly by December 31, 2025. Id.

       40.     There is significant and direct overlap in what the state needs to include in the

CCAP and in its state law-required 2025 Climate Action Strategy. These two required reports are

being worked on in tandem as specifically addressed in the CPRG Work Plan referenced above.

See Exhibit H at 1. Without CPRG, complying with this 2025 Climate Action Strategy

requirement will be significantly more difficult and costly, as explained further below. The same

can be said about Rhode Island’s obligation to submit its CCAP to EPA in December 2025.
Case 1:25-cv-00039-JJM-PAS             Document 68-106         Filed 02/07/25     Page 11 of 155
                                         PageID #: 5116



   B. Recent Developments

       41.     On February 3, 2025, DEM noticed that its CPRG ASAP.gov account was

“suspended.” A true and accurate screenshot of DEM’s CPRG ASAP.gov account as of February

4, 2025, at 9:18 am EST is attached hereto as Exhibit I.

       42.     Because its CPRG account is suspended, DEM was unable to draw down

approximately $44,000. As of February 5, 2025, the account remains suspended.

       43.     DEM has not received any communication from EPA indicating that the CPRG

grant was out of compliance with the terms of the grant.

       44.     As of February 5, 2025, DEM has not received any communication from the EPA

regarding the status of its attempted drawdown or the suspension of its CPRG program

ASAP.gov account.

   C. Impact

       45.     Rhode Island uses its CPRG award to hire contractor support for the preparation

of the 2025 Climate Action Strategy that is required by state law. As a result, the elimination of

this $3 million grant—approximately $2.5 million of which is outstanding—would make the

EC4 committee’s compliance with its statutory obligations substantially more difficult and more

costly to the state, to the detriment of other essential programs.

       46.     Specifically, Rhode Island has allocated $578,315.00 to a consulting team under

contract with Rhode Island’s Office of Energy Resources and $75,000 for the development of a

new climate dashboard which will foster public transparency that tracks both emissions

reductions and the sources of energy consumed by the state. The dashboard is nearly completed

but not all invoices have been received from the vendor.
Case 1:25-cv-00039-JJM-PAS             Document 68-106          Filed 02/07/25      Page 12 of 155
                                         PageID #: 5117



       47.     The CPRG funds are also used to pay for half of the weekly time for three DEM

employees through Summer 2027, as well as a portion of DEM’s Climate Justice Specialist’s

salary, and for a 2025 University of Rhode Island Energy Fellow.

       48.     Rhode Island also administers six Climate Change Community Engagement

Grants with funding provided by its CPRG. These grants go to small community organizations

that are under contract to provide engagement services and have already started working. Each of

these grants are up to $40,000 and combined make up a total of $218,931.

       49.     The CPRG funds are also used for payment to the Rhode Island Division of

Statewide Planning for a Smart Comment subscription in 2024 and 2025.

       50.     Thus, the CPRG funds represent a significant component of the development of

the 2025 Climate Action Strategy.

       51.     If the state law requirements are not met, serious consequences follow. Rhode

Island law provides that EC4’s obligation to produce the 2025 Climate Action Strategy may be

enforced in the superior court by a plaintiff seeking either injunctive relief, a declaratory

judgment, a writ of mandamus, or any combination thereof. See RI Gen L § 42-6.2-10. A

prevailing plaintiff may also recover their litigation costs. See id. § 42-6-2.10(f).

       52.     Not continuing with the 2025 Climate Action Strategy is thus not an option, so

other programs will have to suffer. To avoid violating their statutory obligations, at their next

meeting on February 10, 2025, EC4 is planning to discuss reprioritizing the use of up to

$225,000 in state climate funding on a contingency basis to continue the development of the

2025 Climate Action Strategy. This constitutes a significant amount of state climate funding.
Case 1:25-cv-00039-JJM-PAS              Document 68-106         Filed 02/07/25      Page 13 of 155
                                          PageID #: 5118



        53.      This means that EC4 will redirect funds away from previously approved projects

to instead support the costs required for the 2025 Climate Action Strategy—costs that were

meant to be covered by the $3 million CPRG.

        III.     Other Affected Programs and Impact

        54.      DEM receives numerous other significant and essential grants from the federal

government, including several others through the Inflation Reduction Act (“IRA”) and

Infrastructure Investment and Jobs Act (“IIJA”). These include funding for (1) an Air Monitoring

Grant; (2) an Air Quality Sensor Grant; (3) Air Emissions Monitoring Special Studies; and (4)

Solid Waste Infrastructure Financing.

        55.      As explained further below, DEM’s access to its ASAP.gov accounts for each of

these programs has been suspended. In some cases, DEM has been unable to draw expended

funds. There is no indication of how long these programs may be suspended, and if they will

return at all.

        56.      DEM has never received any communication from EPA indicating that any of

these programs were out of compliance with the terms of the grant.

        57.      If the funds for the programs are cancelled or substantially further delayed, these

programs will not go forward, and these benefits will be unrealized. The delay or cessation of

these programs harms those in Rhode Island by impairing DEM’s ability to monitor air quality

and develop a strategy for addressing solid waste in the state.

    A. Air Monitoring Grant

        58.      DEM received $870,472 for its Air Monitoring Grant, which funding is made

available through the IRA and administered by the EPA. DEM received this award on August

23, 2024, and the grant performance period runs through June 30, 2029. A true and correct copy
Case 1:25-cv-00039-JJM-PAS             Document 68-106          Filed 02/07/25      Page 14 of 155
                                         PageID #: 5119



of the Air Monitoring Grant is attached hereto as Exhibit J. A true and correct copy of the Air

Quality Sensor Grant Work Plan is attached hereto as Exhibit K.

        59.    DEM’s ASAP.gov account for this program was recently suspended. As of

February 5, 2025, DEM’s ASAP.gov account for this program remains unavailable.

        60.    DEM intends to use these funds for maintaining and upgrading the entire Rhode

Island air monitoring network by replacing aging air monitoring equipment at each air

monitoring site utilized as part of the state’s air monitoring network required under the Clean Air

Act. DEM will also use these funds to create a new multipollutant monitoring site in

Woonsocket, Rhode Island. This Woonsocket multipollutant monitoring site is intended to

measure, at minimum, volatile organic compounds, PM25, and black carbon. See Exhibit K at 1,

7.

        61.    Though the funds expended for this project so far have been fully drawn, DEM is

concerned about the ability to incur and receive reimbursement for expenses going forward.

        62.    The delay or cessation of federal funding of this program will harm the health of

Rhode Island’s residents and visitors by denying DEM the ability to maintain its air monitoring

network that allows it to monitor, study, address, and alert the public to air pollution in the state.

     B. Air Quality Sensor Grant

        63.    DEM received $21,925 for its Air Quality Sensor Grant, which funding is also

made available through the IRA and administered by the EPA. DEM received this award on

August 9, 2024, and the grant performance period runs through June 30, 2026. A true and correct

copy of the Air Quality Sensor Grant is attached hereto as Exhibit L. A true and correct copy of

the Air Quality Sensor Grant Work Plan is attached hereto as Exhibit M.
Case 1:25-cv-00039-JJM-PAS             Document 68-106         Filed 02/07/25      Page 15 of 155
                                         PageID #: 5120



        64.     DEM’s ASAP.gov account for this program was recently suspended. As of

February 5, 2025, DEM’s ASAP.gov account for this program remains unavailable.

        65.     Under the grant, DEM will use these funds to increase coverage of low-cost

sensors across the state. During widespread wildfire smoke events, such a monitoring network

has proven valuable in measuring, tracking, and forecasting wildfire smoke. There are currently

several gaps across the state wherein particle data would prove valuable in tracking and timing

the arrival of smoke. The funds from the Air Quality Sensor Grant are meant to address these

gaps. See Exhibit M at 1-2.

        66.     Additionally, the funds will be used to provide sensors for other special situations

where monitoring may be valuable and for citizen science and educational purposes. They will

also be used to purchase two 24-hour volatile organic compound sensors to be placed in

disadvantaged communities or other areas experiencing unique air quality issues where there is a

need for additional data. See Exhibit M at 2.

        67.     This funding has been obligated but DEM has not yet incurred expenses. Still,

DEM has invested significant resources in planning for the program. Even more importantly, the

delay or cessation of this program will harm the health of Rhode Island’s residents and visitors

by denying DEM the ability to further monitor, study, address, and alert the public to air

pollution in the state.

    C. Air Emissions Monitoring Special Studies

        68.     DEM’s Air Emissions Monitoring Special Studies are funded through a Clean Air

Act grant under the IRA, and the grant program is administered by the EPA.

        69.     DEM received $214,709 from the EPA for its Air Emissions Monitoring Special

Studies. DEM received this award on July 25, 2023, and the grant performance period runs
Case 1:25-cv-00039-JJM-PAS             Document 68-106         Filed 02/07/25      Page 16 of 155
                                         PageID #: 5121



through June 30, 2026. A true and correct copy of the Air Emissions Monitoring Special Studies

award is attached hereto as Exhibit N. A true and correct copy of the Air Emissions Monitoring

Special Studies Work Plan is attached hereto as Exhibit O.

       70.     DEM’s ASAP.gov account for this program was recently suspended. As of

February 5, 2025, DEM’s ASAP.gov account for this program remains unavailable.

       71.     At the moment, DEM has $2,232.07 in unreimbursed expenditures under this

program. DEM is unable to draw these funds because of the suspended ASAP.gov account.

       72.     DEM is using these funds to obtain air monitoring data in areas that currently lack

such monitoring. DEM will use this data to make informed decisions that will ultimately reduce

exposures to both criteria and toxic air pollutants in Rhode Island. The areas evaluated include

areas throughout Rhode Island, as well as environmental justice focus areas—areas that are

disproportionately impacted by environmental and public health risks and where people lack

opportunities to access the state’s open spaces. With these proposed projects, DEM will be able

to better understand air quality in these areas and seek possible solutions. See Exhibit O at 1.

       73.     The inability to access these funds means that the Air Emissions Monitoring

Special Studies program will be unable to go forward. Impacted work includes the installation of

a permanent air monitoring site in the Port of Providence, the implementation of mobile air

quality monitoring equipment, and the utilization of air quality sensors to study emissions in

areas of interest. These areas of interest include, but are not limited to, schools operating non-

certified wood boilers, quarries, asphalt plants, and crematories.

       74.     The delay or cessation of this program will harm the health of Rhode Island’s

residents and visitors, including school children and the state’s most disadvantaged populations,
Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25     Page 17 of 155
                                        PageID #: 5122



by denying DEM the ability to further monitor, study, address, and alert the public to air

pollution in the state.

    D. Solid Waste Infrastructure Financing

        75.     DEM received $551,877 for its Solid Waste Infrastructure Financing, which

funding is also made available through the IIJA and administered by the EPA. DEM received

this award on August 22, 2023, and the grant performance project period runs through September

30, 2026. A true and correct copy of the Solid Waste Infrastructure Financing award is attached

hereto as Exhibit P.

        76.     DEM’s ASAP.gov account for this program was recently suspended. On the

morning of February 4, 2025, DEM’s ASAP.gov account for this program remained unavailable.

Access to the account appears to have been restored as of 1:30pm on February 5, 2025.

        77.     This financing encompasses several sub-awards. These include funding for

statewide planning to deal with solid waste in a more comprehensive way and align with the

Rhode Island statutory guidelines and federal requirements for solid waste management. Other

sub-awards include funding for (1) the Rhode Island Recycling Project to advance their

grassroots programs for recycling and organics diversion by formalizing training manuals, hiring

staff, and expanding into more schools; (2) the Center of Eco Technology to advance existing

and new efforts to reduce food loss, expand organics processing capacity, and mobilize efforts

for a circular economy; (3) the University of Rhode Island to convene a cross-disciplinary task

force to embark on the broad topic of bioplastics with a focus on the points of consideration for

biotechnology and biomanufacturing and shifting away from petroleum-based plastics; and (4) a

non-profit organization to do outreach in disadvantaged communities and to identify

opportunities and barriers for increasing recycling and reducing food waste.
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 18 of 155
                               PageID #: 5123
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 19 of 155
                               PageID #: 5124




                      EXHIBIT A
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 20 of 155
                               PageID #: 5125
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 21 of 155
                               PageID #: 5126
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 22 of 155
                               PageID #: 5127
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 23 of 155
                               PageID #: 5128
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 24 of 155
                               PageID #: 5129




                      EXHIBIT B
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 25 of 155
                               PageID #: 5130
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 26 of 155
                               PageID #: 5131
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 27 of 155
                               PageID #: 5132
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 28 of 155
                               PageID #: 5133
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 29 of 155
                               PageID #: 5134




                      EXHIBIT C
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 30 of 155
                               PageID #: 5135
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 31 of 155
                               PageID #: 5136
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 32 of 155
                               PageID #: 5137
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 33 of 155
                               PageID #: 5138
       Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 34 of 155
                                      PageID #: 5139
                                AWARD ATTACHMENTS
ENVIRONMENTAL MANAGEMENT, RHODE ISLAND DEPT OF                          AM22SCBPRI1166-00
1. Award Terms and Conditions
Case 1:25-cv-00039-JJM-PAS               Document 68-106           Filed 02/07/25       Page 35 of 155
                                           PageID #: 5140




AWARD CONDITIONS


The Agricultural Marketing Service (AMS) hereby awards a grant in support of the above referenced
program.


This Award is pursuant to CFDA # 10.170, Specialty Crop Block Grant Program and is subject to:


1. Your organization's application package, including the SF-424, SF-424a, Application/Project Narrative,
Budget Summary/Narrative, other supporting letters and documents.


2. Agricultural Marketing Service Grants Division General Award Terms and Conditions available
at https://www.ams.usda.gov/sites/default/files/media/FY2021 GD TermsandConditions.pdf


Acceptance of this award requires an authorized [Grant recipient awarded] representative to sign and
date the Notice of Award (NOA) and submit to AMS via the grants management electronic system. You
may also submit a signed copy of the NOA via email to                 at                          or
                at                            . If you have any questions about this NOA, please contact
the Federal Agency Project Manager listed on the attached Grant Agreement.


Statement of Work:


This agreement shall be carried out by the organizational units or officials of the Federal Agency and the
Recipient in the manner and subject to the conditions provided in the Agricultural Marketing Service
Grants Division General Award Terms and Conditions attached hereto and made a part of this
agreement.


PROVISIONS:


This Agreement incorporates the following: 1. Approved application and budget including any mutually
agreed upon budget revisions and other changes and amendments thereto. 2. Recipient must comply
with General Award Terms and Conditions for the fiscal year in which the grant was awarded and
available at https://www.ams.usda.gov/services/grants/scbgp/administer. 3. 2 CFR Part 200 and 2 CFR
Part 400. 4. 2 CFR §200.216 and 2 CFR §200.340 5. If funds were not applied for and were reallocated,
the reallocated amount is reflected in block 16-Federal Agency Funding Amount. These funds must be
expended on projects in the Approved application and amendments thereto. 6. Grant funds received
Case 1:25-cv-00039-JJM-PAS                 Document 68-106            Filed 02/07/25         Page 36 of 155
                                             PageID #: 5141



under this award shall supplement the expenditure of State funds in support of specialty crops grown in
that State, rather than replace State funds. 7. Indirect costs are limited to eight (8) percent of the total
Federal funds. 8. Awards are limited to 3 calendar years in duration from the start date of the grant
agreement.


Paperwork Burden Statement:


According to the Paperwork Reduction Act, as amended, no persons are required to respond to a
collection of information unless it displays a valid OMB Control Number. The valid OMB control number
for this information collection is 0581-0240. Public reporting burden for this collection of information is
estimated to average 2 hours per response, including time for reviewing instructions, searching existing
data sources, gathering, and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding the burden estimate or any other aspect of this collection of
information, including suggestions for reducing this burden, to the Office of Management and Budget,
Paperwork Reduction Project 0581-0240, Washington, DC 20503.


Civil Rights:


In accordance with Federal civil rights law and U.S. Department of Agriculture (USDA) civil rights
regulations and policies, the USDA, its Agencies, offices, and employees, and institutions participating in
or administering USDA programs are prohibited from discriminating based on race, color, national origin,
religion, sex, gender identity (including gender expression), sexual orientation, disability, age, marital
status, family/parental status, income derived from a public assistance program, political beliefs, or
reprisal or retaliation for prior civil rights activity, in any program or activity conducted or funded by USDA
(not all bases apply to all programs). Remedies and complaint filing deadlines vary by program or
incident. Persons with disabilities who require alternative means of communication for program
information (e.g., Braille, large print, audiotape, American Sign Language, etc.) should contact the
responsible Agency or USDA's TARGET Center at (202) 720-2600 (voice and TTY) or contact USDA
through the Federal Relay Service at (800) 877-8339. Additionally, program information may be made
available in languages other than English.


To file a program discrimination complaint, complete the USDA Program Discrimination Complaint Form,
AD-3027, found online at http://www.ascr.usda.gov/complaint filing cust.html and at any USDA office or
write a letter addressed to USDA and provide in the letter all the information requested in the form. To
request a copy of the complaint form, call (866) 632-9992. Submit your completed form or letter to USDA
by 1) mail: U.S. Department of Agriculture Office of the Assistant Secretary for Civil Rights 1400
Case 1:25-cv-00039-JJM-PAS               Document 68-106           Filed 02/07/25       Page 37 of 155
                                           PageID #: 5142



Independence Avenue, SW Washington, D.C. 20250-9410. 2) fax: (202) 690-7442; or 3) email:
program.intake@usda.gov. USDA is an equal opportunity provider, employer, and lender.


Public Announcement Embargo


AMS Grants Division requests that awardees refrain from doing any form of publicity on their award
recommendation until the Secretary's office has had a chance do a press release first or until your office
receives official notification of this award from our awards management system. Failure to adhere to this
request may put your award recommendation at risk and may make it subject to withdrawal.
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 38 of 155
                               PageID #: 5143




                      EXHIBIT D
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 39 of 155
                               PageID #: 5144
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 40 of 155
                               PageID #: 5145
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 41 of 155
                               PageID #: 5146
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 42 of 155
                               PageID #: 5147
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 43 of 155
                               PageID #: 5148




                      EXHIBIT E
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 44 of 155
                               PageID #: 5149
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 45 of 155
                               PageID #: 5150
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 46 of 155
                               PageID #: 5151
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 47 of 155
                               PageID #: 5152
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 48 of 155
                               PageID #: 5153
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 49 of 155
                               PageID #: 5154
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 50 of 155
                               PageID #: 5155




                      EXHIBIT F
Case 1:25-cv-00039-JJM-PAS   Document 68-106   Filed 02/07/25   Page 51 of 155
                              PageID #: 5156
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 52 of 155
                               PageID #: 5157




                      EXHIBIT G
              Case 1:25-cv-00039-JJM-PAS                         Document 68-106                 Filed 02/07/25             Page 53 of 155
                                                                   PageID #: 5158
                                                                                                                     5D - 00A00854 - 0   Page 1
                                                                                  GRANT NUMBER (FAIN):           00A00854
                                                                                  MODIFICATION NUMBER:           0                   DATE OF AWARD
                            U.S. ENVIRONMENTAL                                    PROGRAM CODE:                  5D                  08/14/2023
                                                                                  TYPE OF ACTION                                     MAILING DATE
                            PROTECTION AGENCY                                     New                                                08/17/2023
                                      Grant Agreement                             PAYMENT METHOD:                                    ACH#
                                                                                  ASAP                                               10110
RECIPIENT TYPE:                                                                   Send Payment Request to:
State                                                                             Contact EPA RTPFC at: rtpfc-grants@epa.gov
RECIPIENT:                                                                        PAYEE:
Rhode Island D.E.M.                                                               Rhode Island D.E.M.
235 Promenade Street                                                              235 Promenade Street
Providence, RI 02908                                                              Providence, RI 02908
EIN: XX-XXXXXXX
PROJECT MANAGER                                       EPA PROJECT OFFICER                                     EPA GRANT SPECIALIST
                                                       Dan Burke
235 Promenade Street                                   5 Post Office Square, Suite 100                        Grants Management Branch
Providence, RI 02908                                   Boston, MA 02109-3912                                  5 Post Office Square, Suite 100
Email:                                                 Email:                                                 Boston, MA 02109-3912
Phone:                                                 Phone:                                                 Email:
                                                                                                              Phone:
PROJECT TITLE AND DESCRIPTION
Rhode Island Climate Pollution Reduction Planning Grant

See Attachment 1 for project description.


BUDGET PERIOD                            PROJECT PERIOD                           TOTAL BUDGET PERIOD COST                  TOTAL PROJECT PERIOD COST
08/15/2023 - 08/14/2027                  08/15/2023 - 08/14/2027                  $3,000,000.00                             $3,000,000.00

                                                                NOTICE OF AWARD
Based on your Application dated 04/27/2023 including all modifications and amendments, the United States acting by and through the US Environmental
Protection Agency (EPA) hereby awards $3,000,000.00. EPA agrees to cost-share 100.00% of all approved budget period costs incurred, up to and not
exceeding total federal funding of $3,000,000.00. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to carry
out this award by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of disagreement with
the award terms and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms and conditions
specified in this award, the authorized representative of the recipient must furnish a notice of disagreement to the EPA Award Official within 21 days after the
EPA award or amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw down on the funds
provided by this award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable EPA regulatory and
statutory provisions, all terms and conditions of this agreement and any attachments.

        ISSUING OFFICE (GRANTS MANAGEMENT OFFICE)                                                        AWARD APPROVAL OFFICE
ORGANIZATION / ADDRESS                                                            ORGANIZATION / ADDRESS
U.S. EPA, Region 1 , EPA New England                                              U.S. EPA, Region 1, EPA New England
5 Post Office Square, Suite 100                                                   R1 - Region 1
Boston, MA 02109-3912                                                             5 Post Office Square, Suite 100
                                                                                  Boston, MA 02109-3912
                               THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY
Digital signature applied by EPA Award Official                    - Director, Mission Support Division                                           DATE
                                                                                                                                                  08/14/2023
             Case 1:25-cv-00039-JJM-PAS                   Document 68-106              Filed 02/07/25           Page 54 of 155
                                                            PageID #: 5159
                                                                                                        5D - 00A00854 - 0   Page 2

                                                     EPA Funding Information
            FUNDS                                      FORMER AWARD                           THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                  $0                       $3,000,000                                $3,000,000
EPA In-Kind Amount                                                      $0                                $0                                        $0
Unexpended Prior Year Balance                                           $0                                $0                                        $0
Other Federal Funds                                                     $0                                $0                                        $0
Recipient Contribution                                                  $0                                $0                                        $0
State Contribution                                                      $0                                $0                                        $0
Local Contribution                                                      $0                                $0                                        $0
Other Contribution                                                      $0                                $0                                        $0
Allowable Project Cost                                                  $0                       $3,000,000                                $3,000,000



Assistance Program (CFDA)                       Statutory Authority                              Regulatory Authority
66.046 - Climate Pollution Reduction Grants     Clean Air Act: Sec. 137                          2 CFR 200, 2 CFR 1500 and 40 CFR 33




                                                                       Fiscal
           Site Name                  Req No    FY      Approp.         Budget      PRC       Object   Site/Project      Cost            Obligation /
                                                         Code         Oganization             Class                   Organization       Deobligation
CPRG RI                            23010CG038   2231     E4SFX               01V5 000ACGXJ1    4132               -                  -     $3,000,000
                                                                                                                                           $3,000,000
              Case 1:25-cv-00039-JJM-PAS                      Document 68-106    Filed 02/07/25     Page 55 of 155
                                                                PageID #: 5160
                                                                                             5D - 00A00854 - 0   Page 3


Budget Summary Page
                                       Table A - Object Class Category                                Total Approved Allowable
                                             (Non-Construction)                                          Budget Period Cost
 1. Personnel                                                                                                                $467,335
 2. Fringe Benefits                                                                                                          $308,426
 3. Travel                                                                                                                     $16,257
 4. Equipment                                                                                                                       $0
 5. Supplies                                                                                                                   $60,000
 6. Contractual                                                                                                             $1,674,000
 7. Construction                                                                                                                    $0
 8. Other                                                                                                                    $332,406
 9. Total Direct Charges                                                                                                    $2,858,424
 10. Indirect Costs: 18.25 % Base -                                                                                          $141,576
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                               100.00 %)                                                                    $3,000,000
 12. Total Approved Assistance Amount                                                                                       $3,000,000
 13. Program Income                                                                                                                 $0
 14. Total EPA Amount Awarded This Action                                                                                   $3,000,000
 15. Total EPA Amount Awarded To Date                                                                                       $3,000,000
  Case 1:25-cv-00039-JJM-PAS          Document 68-106       Filed 02/07/25      Page 56 of 155
                                        PageID #: 5161
                                                                         5D - 00A00854 - 0   Page 4

                          Attachment 1 - Project Description
This agreement provides funding under the Inflation Reduction Act (IRA) to Rhode Island
Department of Environmental Management to develop a comprehensive, economy-wide
climate mitigation plan or update an existing plan in collaboration with air pollution control
districts, and large and small municipalities statewide, and tribal governments that will
support actions to reduce greenhouse gases (GHG) and harmful air pollutants and to
conduct meaningful engagement with low- income and disadvantaged communities.
In general, activities include the development, updating, and evaluation of plans to reduce
climate pollution (i.e., to reduce GHG emissions and/or enhance carbon sinks). Specific
activities include 1) a GHG inventory; 2) GHG emissions projections; 3) GHG reduction
targets; 4) Quantified GHG reduction measures; 5) A benefits analysis for the full geographic
scope and population covered by the plan; 6) A low-income and disadvantaged communities
benefits analysis; 7) A review of authority to implement; 8) A plan to leverage other federal
funding; and, 9) A workforce planning analysis. Three key deliverables will be produced and
submitted over the course of the four-year program period, including: a Priority Climate
Action Plan (PCAP), due March 1, 2024; a Comprehensive Climate Action Plan (CCAP), due
two years from the date of the award; and a Status Report, due at the close of the grant
period.
The expected outcomes include a PCAP and CCAP that identifies: tons of pollution (GHGs
and co-pollutants) reduced over the lifetime of the measures; tons of pollution (GHGs and
co-pollutants) reduced annually; and tons of pollution (GHGs and co-pollutants) reduced with
respect to low-income and disadvantaged communities. Other expected outcomes include:
improved staff capacity to implement policies to address climate change; enhanced
community engagement; improved ambient air quality; health benefits achieved; increased
public awareness of project and results; and, creation of high-quality jobs with an emphasis
on workers from underserved populations.
The intended beneficiaries include all residents and visitors to the state of Rhode Island
through three main objectives: tackling damaging climate pollution; accelerating work to
address environmental injustice and empower community-driven solutions in overburdened
neighborhoods; and delivering cleaner air by reducing harmful air pollution in places where
people live, work, play, and go to school. Facilitation Services will include mini-grants to local
community based organizations (CBOs) to assist with outreach and facilitated conversations
about programs, policies and projects RI can invest in to reduce GHG emissions. The goal
of this collaboration with CBOs is to help ensure that a wide range of voices are captured in
the execution of this grant, especially those typically under-represented in RI’s climate
conversation. Stipends will be utilized as a method of fostering engagement. CBOs would be
required to provide quarterly status reports on progress, execute outreach activities, and
produce a final report summarizing all engagement and feedback for utilization by RIDEM
staff as part of the overall CPRG process.
   Case 1:25-cv-00039-JJM-PAS             Document 68-106         Filed 02/07/25        Page 57 of 155
                                            PageID #: 5162
                                                                                 5D - 00A00854 - 0   Page 5

                                   Administrative Conditions
A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

Federal Financial Reports (SF-425): rtpfc-grants@epa.gov
MBE/WBE reports (EPA Form 5700-52A): r1 mbewbereport@epa.gov
All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the
Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to
recipient information (including email addresses, changes in contact information or changes in authorized
representatives) and other notifications: Grants Specialist,                               ; Project Officer,


Workplan revisions, equipment lists, programmatic reports and deliverables:
Quality Assurance documents:                         AND R1QAPPs@epa.gov


                                   Programmatic Conditions
Climate Pollution Reduction Grants Specific Programmatic Terms and Conditions

A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT

Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports that include brief
information on each of the following areas: 1) A comparison of actual accomplishments to the
outputs/outcomes established in the assistance agreement work plan for the period; 2) The reasons why
established outputs/outcomes were not met; and 3) Additional pertinent information, including, when
appropriate, analysis and explanation of cost overruns or high-unit costs.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse conditions which
will materially impair the ability to meet the outputs/outcomes specified in the assistance agreement work
plan are known.

Performance Reports - Frequency

Quarterly performance reports are required to be submitted electronically to the EPA Project Officer within
30 calendar days after the reporting period (every three-month period). Quarterly reports are due
according to the following schedule. If a due date falls on a weekend or holiday, the report will be due on
the next business day. If a project start date falls within a defined reporting period, the recipient must
report for that period by the given due date unless otherwise noted. This quarterly reporting schedule shall
be repeated for the duration of the award agreement.

July 1 – September 30 Reporting Period: report due date October 30 (note, in year 1, this reporting period
should begin at the project start date)
   Case 1:25-cv-00039-JJM-PAS             Document 68-106         Filed 02/07/25        Page 58 of 155
                                            PageID #: 5163
                                                                                 5D - 00A00854 - 0   Page 6

October 1 – December 31 Reporting Period: report due date January 30

January 1 – March 31 Reporting Period: report due date April 30

April 1 – June 30 Reporting Period: report due date July 30

The recipient must submit the final performance report no later than 120 calendar days after the
end date of the period of performance.

Subaward Performance Reporting

The recipient must report on its subaward monitoring activities under 2 CFR 200.332(d). Examples of
items that must be reported if the pass-through entity has the information available are:

1. Summaries of results of reviews of financial and programmatic reports.

2. Summaries of findings from site visits and/or desk reviews to ensure effective subrecipient
performance.

3. Environmental results the subrecipient achieved.

4. Summaries of audit findings and related pass-through entity management decisions.

5. Actions the pass-through entity has taken to correct deficiencies such as those specified at 2 CFR
200.332(e), 2 CFR 200.208 and the 2 CFR Part 200.339 Remedies for Noncompliance.

B. DELIVERABLES AND REQUIREMENTS

States that accept an award are required to produce and electronically submit the following three
deliverables by the date specified:

1.) By March 1, 2024, a Priority Climate Action Plan (PCAP), which is a narrative report that includes a
focused list of near-term, high-priority, implementation ready measures to reduce Greenhouse Gas (GHG)
pollution and an analysis of GHG emissions reductions that would be achieved through implementation.
These initial plans can focus on a specific sector or selected sectors, and do not need to comprehensively
address all sources of GHG emissions and sinks in the jurisdiction. The PCAP must include: a GHG
inventory; quantified GHG reduction measures; a low-income and disadvantaged communities benefits
analysis; and a review of authority to implement.

2.) A Comprehensive Climate Action Plan (CCAP), due 2 years from the date of the award. The CCAP is
a narrative report that should touch on all significant GHG sources/sinks and sectors present in a state or
metropolitan area, establish near-term and long-term GHG emission reduction goals, and provide
strategies and identify measures to achieve those goals. Each CCAP must include: a GHG inventory;
GHG emissions projections; GHG reduction targets; quantified GHG reduction measures; a benefits
analysis for the full geographic scope and population covered by the plan; a low-income and
disadvantaged communities benefits analysis; a review of authority to implement; a plan to leverage other
federal funding; and, a workforce planning analysis.

3.) A Status Report, due at the closeout of the 4-year grant period. This report should include the
implementation status of the quantified GHG reduction measures included in the CCAP; any relevant
   Case 1:25-cv-00039-JJM-PAS              Document 68-106          Filed 02/07/25        Page 59 of 155
                                             PageID #: 5164
                                                                                   5D - 00A00854 - 0   Page 7

updated analyses or projections supporting CCAP implementation; and, next steps and future
budget/staffing needs to continue CCAP implementation.

States must coordinate with municipalities and air pollution control agencies within their state to include
priority measures that are implementable by those entities. States are further encouraged to similarly
coordinate with tribes. In all cases, the lead organization for a state or metropolitan area PCAP funded
through the CPRG program must make the PCAP available to other entities by March 1, 2024 for their
use in developing an implementation grant application.

State lead organizations must involve stakeholder groups and the public in the process for developing the
PCAP and CCAP. Potential stakeholders include urban, rural, and underserved or disadvantaged
communities as well as the general public, governmental entities, federally recognized tribes, Port
Authorities, labor organizations, community and faith-based organizations, and private sector and industry
representatives.

C. Cybersecurity Condition

State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information
Exchange Network or EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA’s regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to
comply with the requirements in (b)(1) if the subrecipient’s network or information system is connected to
EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA’s Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and EPA.

D. Competency Policy
   Case 1:25-cv-00039-JJM-PAS             Document 68-106         Filed 02/07/25        Page 60 of 155
                                            PageID #: 5165
                                                                                 5D - 00A00854 - 0   Page 8

Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements,

Recipient agrees, by entering into this agreement, that it has demonstrated competency prior to award, or
alternatively, where a pre-award demonstration of competency is not practicable. Recipient agrees to
demonstrate competency prior to carrying out any activities under the award involving the generation or
use of environmental data. Recipient shall maintain competency for the duration of the project period of
this agreement and this will be documented during the annual reporting process. A copy of the Policy is
available online at https://www.epa.gov/sites/production/files/2015-03/documents/competency-policy-aaia-
new.pdf or a copy may also be requested by contacting the EPA Project Officer for this award.

E. Public or Media Events

The Recipient agrees to notify the EPA Project Officer listed in this award document of public or media
events related to activities accomplished as a result of this agreement, and provide the opportunity for
attendance and participation by federal representatives with at least ten (10) working days’ notice.

F. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at https://www.fgdc.gov/.

G. Quality Assurance

Authority: Quality Assurance applies to all assistance agreements involving environmental information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

The recipient will develop Quality Assurance Project Plans (QAPP) for all applicable projects and tasks
involving environmental information operations in accordance with the most current version of EPA
Requirements for Quality Assurance Project Plans. Regional guidance documents and national guidance
documents may be helpful in meeting the requirements.

“Environmental information operations” is a collective term for work performed to collect, produce,
evaluate, or use environmental information or the design, construction, operation, or application of
environmental technology. For EPA, environmental information includes direct measurements of
environmental parameters or processes, analytical testing of environmental conditions, information
provided by models, information compiled from other sources such as databases, software applications,
or existing literature, the development of environmental software, tools, or models, or the design,
construction, operation, or application of environmental technology.


The QAPP must be approved by EPA prior to environmental information operations, except under
circumstances requiring immediate action to protect human health and the environment or operations
conducted under police powers. Unless an alternate schedule has been agreed upon, QAPPs are to be
submitted at least 60 days before project activities begin. QAPPs are submitted electronically to the
following:
   Case 1:25-cv-00039-JJM-PAS              Document 68-106          Filed 02/07/25        Page 61 of 155
                                             PageID #: 5166
                                                                                   5D - 00A00854 - 0   Page 9

         EPA Project Officer/Tribal Coordinator (see page 1 of assistance agreement for contact
information) and Regional Quality Assurance Branch              via R1QAPPs@epa.gov


        *If electronic submission is unavailable, please contact the Project Officer/Tribal
Coordinator for submittal instructions.


For organizations with an EPA-approved Quality Management Plan (QMP), the recipient will submit an
annual update letter to EPA documenting progress over the year and any changes to the QMP. Annual
update letters will be sent every year for four years until the expiration of the QMP (five years from initial
EPA approval). Annual QA update letters will be sent to the EPA Project Officer/Tribal Coordinator and
the RQAM on the anniversary of the approval of the QMP by the RQAM; or on another mutually
agreeable schedule. In addition, for multi-year projects, the grantee shall confirm that the QAPP is current
and accurate.

H. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, it must not be prominently displayed to imply that any of the recipient or
subrecipient’s activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the State of Rhode Island received financial support from the EPA under
an Assistance Agreement. More information is available at: https://www.epa.gov/stylebook/using-epa-
seal-and-logo#policy

I. Pre- Award Costs

In accordance with 2 CFR 1500.8, the grantee may charge pre-award costs incurred from 08/15/2023 to
the actual award date provided that such costs were contained in the approved application and all costs
are incurred within the approved budget period.
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 62 of 155
                               PageID #: 5167




                      EXHIBIT H
        Case 1:25-cv-00039-JJM-PAS               Document 68-106          Filed 02/07/25       Page 63 of 155
                                                   PageID #: 5168


                               Climate Pollution Reduction Grants (CPRG) –
                                  Workplan for the State of Rhode Island
                                                April 2023
WORKPLAN SUMMARY:
Rhode Island’s CPRG application will encompass the entire state of Rhode Island, an EPA Region 1 state. Rhode Island
has prioritized GHG emissions reduction activities for well over 20 years, beginning with the RI 2002 GHG Action Plan
and most recently with the completion of RI’s 2022 Climate Update (an update to the 2016 GHG Emissions Reduction
Plan). In between 2002 and 2022, RI has enacted numerous climate related laws, including the Resilient RI Act of 2014,
the 2021 Act on Climate and a 100% renewable energy standard by 2033 (enacted in 2022). While all emissions sources
need to be explored if RI intends to meet its aggressive mandatory net-zero GHG mandate by 2050, nearly 80% of RI’s
GHG emissions come from the transportation, electric generating and residential heating sectors (a visual of RI’s sources
can be found at https://dem.ri.gov/environmental-protection-bureau/air-resources/greenhouse-gas-emissions-
inventory). RIDEM anticipates these areas will be the focus of much of the planning being undertaken as part of the
CCAP and PCAP.

Rhode Island’s primary comprehensive climate law, the Act on Climate enacted in 2021, required that the RI Executive
Climate Change Coordinating Council (RIEC4) deliver an update to the 2016 Greenhouse Gas (GHG) Emissions Reduction
Plan to the Governor and General Assembly by December 31, 2022 (referred to as the 2022 Climate Update). After a
fourteen-month process involving substantial stakeholder engagement, research, and coordination among the 13 state
agencies of the RIEC4, the 2022 Climate Update was completed in December 2022 and serves as a benchmark and
updated foundation for Rhode Island’s climate work ahead (online at https://climatechange.ri.gov/act-climate/2022-
climate-update). RI’s GHG annual inventories (performed by RIDEM staff) are a critical tool for helping Rhode Island
track progress towards its GHG mandated reduction targets. In addition, RIDEM intends to undertake this work over the
next 4 years in coordination with the principles and goals identified in its draft policy on environmental justice
(anticipated to be finalized in late Spring 2023 and available online at https://dem.ri.gov/environmental-protection-
bureau/initiatives/environmental-justice).

RIDEM intends to actively engage its recently hired Climate Justice Specialist in the development of the PCAP and CCAP
to help ensure the work performed pursuant to this funding opportunity is transparent, represents the voices of low-
income and disadvantaged communities, and is communicated effectively to populations most vulnerable to the impacts
of climate change. RIDEM’s Climate Justice Specialist will be developing an EJ workgroup for the EC4 and will engage
with these members on specific community needs and priorities. In addition, RIDEM, with the assistance of the entire
RIEC4 Council, will work to meet the deliverable deadlines for the PCAP, CCAP and Status Report in 2024, 2025, and 2027
respectively. Particular emphasis will be given to engaging with municipalities and the business community – two groups
whose voices were not amplified during the creation of RI 2022 Climate Update.

A total budget of $3,000,000 for this funding opportunity has been identified, with the largest portion being used to
support the development of the CCAP for modeling of GHG reduction scenarios, robust stakeholder engagement,
preparing the final deliverables and related contractual services. It is important to note that Rhode Island’s 2021 Act on
Climate mandates the creation of a “RI 2025 Climate Strategy” by the end of 2025. RIDEM intends to closely sync the
work done for the 2025 Climate Strategy with the CCAP and deliver one comprehensive, action-based strategy in the fall
of 2025. RIDEM in coordination with other RIEC4 member agencies initiated a comprehensive public involvement
strategy to provide transparency and approximately 20 direct opportunities for engagement during the development of
the 2022 Climate Update. RIDEM also intends to utilize an experienced outside contractor and community-based
organizations to assist with outreach and stakeholder engagement under the PCAP and CCAP.


                                                                                                                         1
        Case 1:25-cv-00039-JJM-PAS               Document 68-106           Filed 02/07/25       Page 64 of 155
                                                   PageID #: 5169


RESPONSIBLE ENTITIES:
The RI Department of Environmental Management will serve as the lead contact for this grant. The primary point-of-
contact will be:


        RIDEM - Office of the Director



Coordinating Entities:

    •   The RI Executive Climate Change Coordinating Council, or RIEC4, (as Chaired by RIDEM Director                )
        comprised of 13 member agencies as follows: RI Coastal Resources Management Council, RI Department of
        Administration, RI Department of Environmental Management, RI Department of Health, RI Department of
        Transportation, RI Division of Planning, RI Emergency Management Agency, RI Executive Office of Health &
        Human Services, RI Infrastructure Bank, RI Office of Energy Resources, RI Public Transit Authority, RI Division of
        Public Utilities and Carriers, and the Rhode Island Commerce Corporation.
    •   The 9-member RIEC4 Science and Technology Advisory Board (STAB)
    •   The 13-member RIEC4 Advisory Board
    •   RIDEM’s Climate Justice Specialist and the RI Office of Energy Resources Energy Justice Manager
    •   The RI Department of Labor & Training (including the Governor’s Workforce Board)
    •   Cities and towns across Rhode Island with targeted outreach and engagement
    •   Institutions of higher education located within Rhode Island (e.g., Brown University, University of Rhode Island)
    •   Environment Council of Rhode Island (ECRI) and member organizations
    •   The Northeast States for Coordinated Air Use Management (NESCAUM)

DELIVERABLES DEVELOPMENT PROCESS:
Key Deliverable #1: Priority Climate Action Plan

RIDEM, in coordination with the RIEC4, will be on-point for developing the PCAP throughout the second half of 2023 and
into the spring of 2024. RIDEM’s Office of Air Resources, which leads a majority of the agency’s mitigation related
programs, will be directly involved. Key participants will include staff from the 13 agencies that comprise the RIEC4,
municipal and business leaders, the RIEC4’s two advisory bodies, RIDEM’s Climate Justice Specialist, and RIDEM’s climate
policy staff (2 FTEs in the Director’s Office). RIEC4 Council meetings as well as meetings of the RIEC4 Advisory Board and
RIEC4 STAB will be key touch points with the public to engage on the development of the PCAP. RIDEM anticipates also
partnering with non-profits (e.g., Climate Jobs RI), academic institutions (e.g., University of Rhode Island /Brown
University) and/or regional organizations (e.g., NESCAUM) as needed to complete the following elements:
• GHG Inventory
         o RIDEM’s Office of Air Resources completes an annual RI GHG inventory which will be utilized to support the
              work of the PCAP. Any significant proposed changes to how RIDEM develops the annual RI GHG inventory
              will include stakeholder engagement. It is anticipated to be completed by mid-December 2023 (for calendar
              year 2020).
• GHG Reduction Targets
         o RI already has legislatively mandated near-term and long-term reduction targets as follows which will be
              used for the development of the PCAP: 45% below 1990 levels by 2030, 80% below 1990 levels by 2040, and


                                                                                                                             2
        Case 1:25-cv-00039-JJM-PAS               Document 68-106           Filed 02/07/25       Page 65 of 155
                                                   PageID #: 5170


            net-zero emissions by 2050. No additional amendments to these targets are expected during the
            development of the PCAP.
•   Quantified GHG Reduction Measures
        o RI’s 2022 Climate Update modeled specific reduction measures and will be incorporated into the PCAP
            (utilizing the Energy Policy Simulator tool). The development of additional GHG reduction scenarios may be
            modeled with the use of contractual services and NESCAUM. Any additional modeling deemed necessary
            will be undertaken between October 2023 – February 2024.
•   Low Income/ Disadvantaged Communities Benefits Analysis
        o RI’s 2022 Climate Update and the recommendations of the RIEC4 Advisory Board on climate justice will
            inform this specific element. The development of this analysis will likely utilize contractual services (e.g.,
            NESCAUM) between October 2023 – February 2024.
•   Review of Authority to Implement
        o RIDEM anticipates this analysis can be undertaken internally in coordination with staff from the agencies
            that make up the RIEC4 in early 2024. RI’s Act on Climate provides significant authority for RI state agencies
            to implement mitigation requirements in support of meeting RI’s climate mandates.
•   Workforce Planning Analysis
        o RIDEM anticipates it will engage with the RI Department of Labor and Training, the Governor’s Workforce
            Board, NESCAUM and related workforce organizations engaged in workforce/just transition analysis to
            complete this optional element of the PCAP. RIDEM expects this analysis will be undertaken in late 2023 and
            early 2024.

PCAP Interagency and Intergovernmental Coordination:

Interagency coordination on climate change is one of the core elements of RI’s success to-date on mitigation measures
and climate planning. RIDEM climate policy staff interact on a very regular basis with staff from the other 12 RIEC4
agencies (listed above). This staff-level coordinating network will be critical to the success of both the PCAP and the
CCAP. Agency directors meet 6-times a year at RIEC4 Council meetings, and it is anticipated that all key deliverables of
this process over the next 4 years will be discussed and vetted though both RIEC4 staff and agency directors/staff.
Because Rhode Island’s Division of Statewide Planning serves as our state’s only MPO, we will rely on their staff to help
engage with cities and towns regarding local plans and requirements. We also interact frequently with the Rhode Island
League of Cities and Towns. The Rhode Island Infrastructure Bank is also a critical partner in developing funding analysis
and mechanisms to direct federal funds to cities and towns.

The RIEC4 has existed for nearly 10 years and is very adept at communicating about such large projects and deliverables.
In order to bring in the voices of RI’s 39 cities and towns into this process, RIDEM expects to set up a regular touch point
with municipal leaders to solicit input and provide regular progress updates. In addition, monthly RIEC4 Advisory Board
meetings and bi-monthly RIEC4 STAB meetings will be utilized to advance interagency and municipal coordination. The
RI climate change website (online at https://climatechange.ri.gov/) will continue to be utilized as the primary repository
for sharing materials and announcing meetings/events via its online calendar feature. SmartComment (web-based
software for public comments and engagement campaigns) will be used for capturing, organizing, and analyzing online
feedback from stakeholders. Similarly, RI’s climate listserv will be utilized to push out interim deliverables, engage
stakeholders, and the final PCAP (to inform the development of implementation grant applications by RI cities/towns,
tribes, etc.).

PCAP Public and Stakeholder Engagement:

The members of the RIEC4 Advisory Board and RIEC4 STAB represent a wide variety of organizations/interests including,
but not limited to, the Audubon Society of RI, TNC, RI AFL-CIO, RI Coastal Resources Center, Brown University, the
University of Rhode Island, the Narragansett Bay National Estuarine Research Reserve, builders, affordable housing,
                                                                                                                           3
        Case 1:25-cv-00039-JJM-PAS               Document 68-106           Filed 02/07/25       Page 66 of 155
                                                   PageID #: 5171


architects, and private business. With the RIEC4 Advisory Board meeting monthly and the RIEC4 STAB meeting bi-
monthly, board meetings can be used to provide direct input into the development of the PCAP and solicit public
feedback (all meetings include opportunity for public comment). Rhode Island also has an active environmental
advocacy community that is organized as the Environment Council of Rhode Island. We will utilize this network and their
monthly meetings to engage with the largest environmental advocacy groups in the state.

RIDEM is familiar with the Justice 40 CEJST tool, and we have created our own maps of environmental justice focus areas
that overlap with those identified by CEJST. The maps, along with our environmental justice policy, will guide our
benefits analysis and our outreach to specific areas of the state. Because of Rhode Island’s small size, we are intimately
familiar with the areas that we consider environmental justice focus areas. In much of our planning, we work on a
watershed scale and include adjacent neighborhoods as well. There are several state-designated watershed councils that
are actively engaged in citizen science and advocacy within our EJ communities, and they are all organized under the
umbrella of the Rhode Island Rivers Council which is a quasi-public body. In addition to these tools, we will utilize
existing structures such as the Department of Health’s Health Equity Zones and neighborhood associations to reach into
the community. During this phase of the grant, the EC4 will be aiming to create an environmental justice workgroup and
we can begin to share the planning documents and priority projects with them. RIDEM applied for an Environmental
Justice Government to Government (EJG2G) grant in April 2023. If successful, we will align the work of this proposal with
work performed in support of the EJG2G grant.

Additional direct stakeholder engagement through online listening events, similar to the ~20 events undertaken to
develop the 2022 Climate Update, will be planned.

RIDEM intends to actively engage its recently hired Climate Justice Specialist in the development of the PCAP and CCAP
to help ensure the work performed pursuant to this funding opportunity is transparent, represents the voices of low-
income and disadvantaged communities, and is communicated effectively to populations most vulnerable to the impacts
of climate change. Ongoing ‘Climate Justice Hours’ will provide an avenue to share information and solicit feedback from
low-income and disadvantaged community members. RIDEM will look to engage with the members of the Providence
Racial and Environmental Justice Committee (REJC) about the PCAP and how it can work to implement some of the
recommendations outlined in the Providence Climate Justice Plan (https://www.providenceri.gov/sustainability/climate-
justice-action-plan-providence/) as adopted in 2019. This outreach and coordination will continue past March 2024
when RIDEM turns its attention to the development of the CCAP.

In order to better communicate with the public and stakeholder groups about the PCAP, CCAP and related climate
activities (e.g., the 2025 Climate Strategy due to be completed in late 2025), RIDEM anticipates utilizing contractual
services to develop an online metric-based climate and emissions reduction dashboard. It will be developed as an easy
to use/understand tool so residents of RI can track how fast RI is moving the needle on specific climate metrics (e.g., EV
adoption, installation of EVSE, heat pump deployment, progress towards renewable energy standard goals, or MWs of
renewable energy contracted for use in RI). This dashboard will be integrated into our https://climatechange.ri.gov/
website which hosts all of our meeting minutes, resources, and links to reports and policies. We also maintain a listserv
and actively invite members of the public to receive newsletters and updates via email.

Key Deliverable #2: Comprehensive Climate Action Plan:

RIDEM, in coordination with the RIEC4, will be on-point for developing the CCAP from the spring of 2024 through the fall
of 2025. RIDEM’s Office of Air Resources, which leads a majority of the agency’s mitigation related programs (including
the development of RI’s annual GHG inventories), will be directly involved. Key participants will include staff from the 13
agencies that comprise the RIEC4, municipal and business leaders, the RIEC4’s two advisory bodies, RIDEM’s Climate
Justice Specialist, and RIDEM’s climate policy staff (2 FTEs in the Director’s Office). RIEC4 Council meetings as well as
meetings of the RIEC4 Advisory Board and RIEC4 STAB will be key touch points with the public to engage on the
                                                                                                                             4
        Case 1:25-cv-00039-JJM-PAS               Document 68-106           Filed 02/07/25       Page 67 of 155
                                                   PageID #: 5172


development of the CCAP. The most significant portion of RIDEM’s time and budget (e.g for contractual services) under
this funding opportunity will be focused on development of the CCAP and the accompanying 2025 RI Climate Strategy.
The findings and recommendations of the RI 2022 Climate Update and the PCAP will inform the development of the
CCAP. RIDEM anticipates also partnering with non-profits (e.g., Climate Jobs RI), academic institutions (e.g., University of
Rhode Island /Brown University) and/or regional organizations (e.g., NESCAUM) as needed to complete the following:

•   GHG Inventory
       o RIDEM’s Office of Air Resources completes an annual state-level RI GHG inventory for all of the major
            sectors which will be utilized to support the work of the CCAP. Any significant proposed changes to how
            RIDEM develops the annual RI GHG inventory will include stakeholder engagement. It is anticipated to be
            completed by mid-December 2023 (for calendar year 2020) and annually each year after that throughout
            the span of this funding opportunity. RIDEM has been completing annual inventories for RI each year since
            2014.
•   GHG Emissions Projections
       o GHG emissions projections (using scenario-based modeling) will be developed with the use of contractual
            services. RI’s 2020 GHG Inventory (to be completed in late 2023) and 2021 GHG Inventory (to be completed
            in late 2024) will inform modeled projections. RIDEM anticipates modeling will be completed between fall of
            2024 and summer of 2025.
•   GHG Reduction Targets
       o RI already has legislatively mandated near-term and long-term reduction targets as follows which will be
            used for the development of the CCAP: 45% below 1990 levels by 2030, 80% below 1990 levels by 2040, and
            net-zero emissions by 2050. No additional amendments to these targets are expected during the
            development of the CCAP. RIDEM and the RIEC4 would like to keep open the possibility of developing
            sector-based targets (e.g., for the heating sector). This proposal was discussed as part of the RI 2022 Climate
            Update. Modeling used for developing scenarios in the PCAP along with earlier work done for the 2022
            climate update will be used to create sector-based targets for specific sub-sets of priority sectors such as
            residential heating and transportation. We already have a 100% renewable electricity target set for 2033.
            The sub-targets will also help us to build out our emissions dashboard so that we can better communicate
            progress, future needs and priority reduction measures.
•   Quantified GHG Reduction Measures
       o RI’s 2022 Climate Update modeled specific reduction measures and this information/data will be
            incorporated into the CCAP along with any additional modeling performed for the PCAP. The preliminary
            low-income benefits analysis and workforce planning done for the PCAP will help to inform specific
            measures that will enhance benefits or mitigate harms to disadvantaged communities. The development of
            additional quantified GHG reduction measures (using scenario-based modeling) will be developed with the
            use of contractual services. RI’s 2020 and 2021 GHG inventories will also inform the identification of priority
            reduction measures. RIDEM anticipates modeling will be completed between fall of 2024 and summer of
            2025.
•   Benefits Analysis for the Full Geographic Scope and Population Covered by the Plan
       o Quantified estimates of co-pollutant reductions (e.g., PM2.5, NOx, SO2, VOCs, air toxics, etc.) associated
            with GHG reduction measures will be estimated. This will be used to estimate economic and health benefits
            including avoided health costs. Where possible, we will address specific priority GHG reduction measures in
            our benefits analysis. We will also discuss the mitigation of potential harms to specific populations especially
            in terms of workforce or other economic factors. The benefits analysis will be developed with the use of
            contractual services. RIDEM anticipates modeling will be completed between fall of 2024 and summer of
            2025.
•   Low Income/ Disadvantaged Communities Benefits Analysis
       o RI’s 2022 Climate Update and the recommendations of the RIEC4 Advisory Board on climate justice will
            inform this specific element. The development of this analysis will likely utilize contractual services between
                                                                                                                           5
        Case 1:25-cv-00039-JJM-PAS               Document 68-106           Filed 02/07/25       Page 68 of 155
                                                   PageID #: 5173


            fall of 2024 and summer of 2025 to evaluate the extent to which any GHG reduction measures in the CCAP
            will deliver co-pollutant emissions reductions and other benefits specifically to disadvantaged populations
            This will include avoided health costs and other benefits in community resilience or social determinants. We
            will discuss, where appropriate, the mitigation of potential disadvantages to these populations from the
            clean energy transition and ways to ensure future community resilience.
•   Review of Authority to Implement
        o RIDEM anticipates this analysis will be undertaken utilizing contractual services in association with staff from
            the agencies that make up the RIEC4 in early to mid-2025.
•   Intersection with Other Funding Availability
        o RIDEM anticipates this analysis will be undertaken utilizing contractual services in association with staff from
            the agencies that make up the RIEC4 in early to mid-2025. RIDEM will use this opportunity to identify key
            gaps in fundings.
•   Workforce Planning Analysis
        o RIDEM anticipates it will engage with the RI Department of Labor and Training, the Governor’s Workforce
            Board and non-profits in RI engaged in workforce/just transition analysis to complete this element of the
            CCAP. RIDEM expects this analysis will be undertaken in the spring/summer of 2025 with the assistance of
            outside contractual services.

CCAP Interagency and Intergovernmental Coordination:

Interagency coordination on climate change is one of the core elements of RI’s success to-date on mitigation measures
and climate planning. RIDEM climate policy staff interact on a very regular basis with staff from the other 12 RIEC4
agencies (listed above). This staff-level coordinating network will be critical to the success of the CCAP. Agency directors
meet 6-times a year at RIEC4 Council meetings, and it is anticipated that all key deliverables of this process over the next
4 years will be discussed and vetted though both RIEC4 staff and agency directors/staff. RIDEM expects that the
interagency and intergovernmental coordination necessary to complete the CCAP will be additionally supported by
outside contractual services as part of the overall production of the CCAP by the fall of 2025.

The RIEC4 has existed for nearly 10 years and is very adept at communicating about such large projects and deliverables.
In order to bring in the voices of our 39 cities and towns, RIDEM expects to continue regular touch points with municipal
leaders to solicit input and provide regular progress updates during the development of the CCAP. In addition, monthly
RIEC4 Advisory Board meetings and bi-monthly RIEC4 STAB meetings will be utilized to advance interagency and
municipal coordination. The RI climate change website (online at https://climatechange.ri.gov/) will continue to be
utilized as the primary repository for sharing materials and announcing meetings/events via its online calendar feature.
SmartComment (web-based software for public comments and engagement campaigns) will be used for capturing,
organizing and analyzing online feedback from stakeholders. Similarly, RI’s climate listserv will be utilized to push out
interim deliverables, engage stakeholders, and the final PCAP (to inform the development of implementation grant
applications by RI cities/towns, tribes, etc.).

CCAP Public and Stakeholder Engagement:

The members of the RIEC4 Advisory Board and RIEC4 STAB represent a wide variety of organizations/interests including,
but not limited to, the Audubon Society of RI, TNC, RI AFL-CIO, RI Coastal Resources Center, Brown University, the
University of Rhode Island, the Narragansett Bay National Estuarine Research Reserve, builders, affordable housing,
architects, and private business. With the RIEC4 Advisory Board meeting monthly and the RIEC4 STAB meeting bi-
monthly, board meetings can be used to provide direct input into the development of the CCAP and solicit public
feedback (all meetings include opportunity for public comment). We will continue to use our established connections
with environmental advocacy groups through both the Environment Council of Rhode Island and the Rhode Island Rivers
Council. Because of Rhode Island’s small size we have long-standing relationships with most of these groups. We will
                                                                                                                           6
        Case 1:25-cv-00039-JJM-PAS               Document 68-106          Filed 02/07/25       Page 69 of 155
                                                   PageID #: 5174


build on new connections made during the development of the PCAP to further develop priority projects and GHG
reduction strategies.

Additional direct stakeholder engagement through online listening events, similar to the ~20 events undertaken to
develop the 2022 Climate Update, will be planned.

We will utilize a metric-based climate dashboard to engage with the public. This dashboard will be updated yearly as we
complete our GHG inventories and get data from various agencies. We will also utilize the Department of Health’s
climate and health dashboard to engage around climate science and health effects (available at
https://health.ri.gov/data/climatechange/). This dashboard provides education on the direct effects of climate change
on our temperatures, precipitation, and impacts of heat. We will continue to utilize our https://climatechange.ri.gov/
webpage and our email listserv to disseminate report drafts, meeting minutes, resources, and other educational
materials. We will also utilize public events such as fairs and farmer’s markets to solicit feedback and provide education
about our efforts.

RIDEM’s Climate Justice Specialist will continue to plan for the development of an EJ workgroup for the EC4 and will
engage with these members on specific community needs and priorities. Ongoing ‘Climate Justice Hours’ will provide an
avenue to share information and solicit feedback from low-income and disadvantaged community members. RIDEM will
analyze recommendations outlined in the Providence Climate Justice Plan and incorporate as warranted into the CCAP.
This outreach and coordination will hopefully help RIDEM and the RIEC4 develop long standing relationships with
communities that have not typically engaged with the state on mitigation priorities.

Key Deliverable #3: Status Report

RIDEM, in coordination with the RIEC4 and its two advisory boards, will be on-point for developing the required Status
Report due in the fall of 2027. At this time RIDEM anticipates much of this work can be performed by agency staff,
although the project budget does include some funding for contractual assistance (e.g., on modeling, facilitation and
program support) in 2026 and 2027. RIDEM’s Office of Air Resources, which leads a majority of the agency’s mitigation
related programs (including the development of RI’s annual GHG inventories), will be directly involved. We anticipate
key participants will continue to include staff from the 13 agencies that comprise the RIEC4, municipal and business
leaders, the RIEC4’s two advisory bodies, RIDEM’s Climate Justice Specialist, and RIDEM’s climate policy staff (2 FTEs in
the Director’s Office). RIEC4 Council meetings as well as meetings of the RIEC4 Advisory Board and RIEC4 STAB will be
key touch points with the public to engage on the development of the CCAP. The findings and recommendations of the
CCAP, the RI 2022 Climate Update and the 2025 Climate Strategy will be updated as needed and provide forward-
looking recommendations for additional investments in RI to reduce GHG emissions. RIDEM anticipates it may need to
partner with a regional organization (e.g. NESCAUM) to complete certain elements of the Status Report.

•   Implementation Status of GHG Reduction Measures
       o RIDEM will provide an update on the current status of plan implementation, including individual GHG
           reduction measures. For measures that still need to be implemented, RIDEM will identify key next steps and
           responsible parties. RIDEM anticipates this analysis will begin in the fall of 2026 and conclude in the summer
           of 2027. The current status of implementation actions that are part of our GHG inventory and sub-sector
           planning will be part of the climate change dashboard hosted on the https://climatechange.ri.gov/ webpage.
           RIDEM may need to partner with an outside organization (e.g., NESCAUM) or solicit contractual support to
           complete this portion of the Status Update.
•   Updated Benefits Analysis
       o RIDEM will provide updated estimates of co-pollutant reductions or other benefits associated with GHG
           reduction measures. RIDEM may need to partner with an outside organization (e.g., NESCAUM) or solicit

                                                                                                                            7
        Case 1:25-cv-00039-JJM-PAS              Document 68-106           Filed 02/07/25       Page 70 of 155
                                                  PageID #: 5175


            contractual support to complete this portion of the Status Update. RIDEM anticipates this analysis will begin
            in the fall of 2026 and conclude in the summer of 2027.
•   Updated Low-Income and Disadvantaged Communities Benefits Analysis
       o RIDEM will provide an updated analysis of the co-pollutant emissions reductions and other program benefits
            to low-income/disadvantaged communities associated with GHG reduction measures identified in the CCAP
            (both implemented and yet to be implemented). RIDEM anticipates this analysis will begin in the fall of
            2026 and conclude in the summer of 2027. RIDEM may need to partner with an outside organization (e.g.,
            NESCAUM) or solicit contractual support to complete this portion of the Status Update.
•   Updated Review of Authority to Implement
       o RIDEM will provide an updated analysis of the authority to implement the various measures identified in the
            CCAP. Any regulatory or statutory (state & federal) amendments which may impact RI’s authority to
            implement identified measures will be explained and taken into consideration. RIDEM anticipates this
            analysis will begin in the fall of 2026 and conclude in the summer of 2027.
•   Updated Workforce Planning Analysis
       o RIDEM will report on the workforce development progress identified in the CCAP, as well as any ongoing
            workforce challenges that may be slowing progress. RIDEM anticipates it will engage with the RI Department
            of Labor and Training, the Governor’s Workforce Board to complete this element. RIDEM anticipates this
            analysis will begin in the fall of 2026 and conclude in the summer of 2027. RIDEM may need to partner with
            an outside organization (e.g., NESCAUM) or solicit contractual support to complete this portion of the Status
            Update.
•   Next Steps/Future Budget/Staffing Needs
       o RIDEM, in coordination with RIEC4, will seek to identify future budget and staffing needs, as well as
            measures RI might pursue if additional funding were made available (both planning and project
            implementation). This will help to inform RI’s next comprehensive climate strategy due to be completed in
            2030. Where possible, RIDEM and RIEC4 will work to ensure a consistent level of analysis between the
            planning efforts. Should the RIEC4 have a dedicated budget by 2026, RIDEM will include recent budget
            workplans as part of the Status Update. RIDEM anticipates this analysis will begin in the fall of 2026 and
            conclude in the summer of 2027. RIDEM may need to partner with an outside organization (e.g., NESCAUM)
            or solicit contractual support to complete this portion of the Status Update.

Status Report Interagency and Intergovernmental Coordination:

Interagency coordination on climate change is one of the core elements of RI’s success to-date on implanting mitigation
measures and climate planning. RIDEM climate policy staff interact on a very regular basis with staff from the other 12
RIEC4 agencies (listed above). This staff-level coordinating network will be critical to providing a comprehensive Status
report by fall 2027. Agency directors meet 6-times a year at RIEC4 Council meetings, and it is anticipated that all key
deliverables of this process will be discussed and vetted though both RIEC4 staff and agency directors/staff. RIDEM
expects that the interagency and intergovernmental coordination necessary to complete provide a comprehensive
Status Report may be additionally supported by outside contractual services and/or coordination with a regional
organization like NESCAUM. The RIEC4 Advisory Board and STAB will be involved on an as needed basis.

Status Report Public and Stakeholder Engagement:

The RI climate change website (online at https://climatechange.ri.gov/) will continue to be utilized as the primary
repository for sharing materials about the PCAP/CCAP and announcing meetings/events via its online calendar feature.
The climate change and emissions reduction dashboard will be hosted on this webpage and will include metrics related
to our sub-sector goals and commitments. This dashboard will be updated at least yearly or more often if applicable. It
will also include case studies and success stories to augment the data points. SmartComment (web-based software for
public comments and engagement campaigns) will be used for capturing, organizing and analyzing any additional online
                                                                                                                        8
        Case 1:25-cv-00039-JJM-PAS               Document 68-106           Filed 02/07/25       Page 71 of 155
                                                   PageID #: 5176


feedback from stakeholders. Similarly, RI’s climate listserv will be utilized to push out deliverables, engage stakeholders,
and the final Status Report. These communication tools (website, listserv and SmartComment portals) will continue after
the close of the grant period. In addition, future RIEC4 meetings can be utilized to update all agencies and participating
members of the public. RIDEM’s Climate Justice Specialist will be integrated into the process to ensure lines of
communication remain open with disadvantaged communities.

ENVIRONMENTAL RESULTS, OUTPUTS, AND OUTCOMES:
RIDEM will make every effort to help ensure that the activities undertaken as part of this funding opportunity will
support Goal 1 of USEPA’s current Strategic Plan on addressing the climate crisis.

Anticipated OUTPUTS include:
        • Completion of the PCAP
        • Completion of the CCAP
        • Completion of the Status Report
        • Benefits analyses that can help direct funding to the most effective GHG reduction measures
        • Creation of an emissions reduction and climate change dashboard
        • Additional elements of the https://climatechange.ri.gov/ webpage that detail actions towards our GHG
            reduction goals with case studies and educational content
        • Public outreach at community events
        • Number of involved community members/groups (as measured by SmartComment)
        • Number of stakeholder events (listening sessions, etc.) at which the PCAP, CCAP and Status Report were
            discussed/feedback received
        • Number of RIEC4 listserv announcements related to the PCAP, CCAP and Status Report

Anticipated OUTCOMES include:
        • GHG and co-pollutants reduced over the lifetime of the measures identified in the PCAP and CCAP
        • GHG and co-pollutants reduced annually
        • GHG and co-pollutants reduced in low-income and disadvantaged communities in RI
        • Measurable positive health outcomes related to targeted mitigation efforts
        • Stakeholders are educated about specific greenhouse gas emissions reduction programs and how they can
            participate
        • Increased capacity at RIDEM and RIEC4 member agencies to address climate change
        • Enhanced community engagement especially with disadvantaged communities
        • Enhanced engagement with RI’s business sector and municipal decision-makers
        • Increased awareness of RI’s climate activities
        • Increased readiness in RI’s workforce (relative to the future green economy)

The process for measuring progress towards these outputs/outcomes will include Rhode Island’s annual GHG emissions
inventory, the RI climate dashboard (described above) to track identified metrics, and Rhode Island’s comprehensive
GHG strategies (to be completed beginning in 2025 and every 5-years thereafter).




                                                                                                                          9
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 72 of 155
                               PageID #: 5177
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 73 of 155
                               PageID #: 5178
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 74 of 155
                               PageID #: 5179
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 75 of 155
                               PageID #: 5180




                       EXHIBIT I
           Case 1:25-cv-00039-JJM-PAS SENSITIVE
                                        Document    68-106 Filed 02/07/25
                                                BUT UNCLASSIFIED                         Page 76 of 155
                                           PageID #: 5181


                                                                                                     Date: 02/04/2025
                                             Account Profile Inquiry                                    Time: 9:18 AM



ALC/Region:                             Agency Short Name:                    Account ID:
68128933                                RTP-Grants
Recipient ID:                           Recipient Short Name:
                                        DEM

Inquiry Results:

 ACCOUNT DETAILS                                             GRANT DETAILS
          Requestor ID : 4432682                                              Grant : Yes
            Account ID :                                             Federal Award
                                                             Identification Number
                          RHODE ISLAND CLIMATE                               (FAIN) : 5D00A00854
   Account Description : POLLUTION
                                                                      CFDA Number : 66046.000
    1031/LOC Account : No
                                                             Total Estimated Grant
          Account Type : Regular Account                                    Amount : $0.00
              Group ID : 10110
       Control Account : No                                  AGENCY PAYMENT REVIEW
        Account Status                                             Agency Review : No
              Indicator : Suspended                             Threshold Amount :
     Available Balance : $2,424,909.30                          Reason for Review :
           Create Date : 08/15/2023
            Begin Date : 08/15/2023                          DRAW AMOUNTS
   Performance Period                                            Max Total Draw Amount :
              End Date : 08/14/2027
                                                                 Max Daily Draw Amount :
              End Date : 12/15/2027
                                                               Max Monthly Draw Amount :
       TAS Distribution                                       Max Quarterly Draw Amount :
               Method : Percentage by Account
      Allow Book Entry
           Adjustment : Yes                                  AUTOMATED AUTHORIZATION RENEWALS
    Allow Warehoused                                           Authorized Renewal
             Payments : Yes                                                 Amount : $0.00
        CMIA Indicator : No                                           Certified Date :
                                                                Renewal Frequency :
 CUMULATIVE AUTHORIZATIONS                                        Pending Renewal
            Cumulative                                                   Frequency :
    Authorized Amount : $3,000,000.00                          Pending Automated
            Cumulative                                            Renewal Amount : $0.00
    Authorized Amount                                        Rollover Reset Quarter :
          Reset Period :
                                                                     Default Action :
   Annual Reset Month :




                                                      1 of 1

                                            SENSITIVE BUT UNCLASSIFIED
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 77 of 155
                               PageID #: 5182




                      EXHIBIT J
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 78 of 155
                               PageID #: 5183
             Case 1:25-cv-00039-JJM-PAS                    Document 68-106                  Filed 02/07/25           Page 79 of 155
                                                             PageID #: 5184
                                                                                                              5Q - 00A01324 - 0   Page 2

                                                       EPA Funding Information
              FUNDS                                    FORMER AWARD                              THIS ACTION                          AMENDED TOTAL
EPA Amount This Action                                                  $0                           $ 870,472                                $ 870,472
EPA In-Kind Amount                                                      $0                                    $0                                     $0
Unexpended Prior Year Balance                                           $0                                    $0                                     $0
Other Federal Funds                                                     $0                                    $0                                     $0
Recipient Contribution                                                  $0                                    $0                                     $0
State Contribution                                                      $0                                    $0                                     $0
Local Contribution                                                      $0                                    $0                                     $0
Other Contribution                                                      $0                                    $0                                     $0
Allowable Project Cost                                                  $0                           $ 870,472                                $ 870,472



Assistance Program (CFDA)                        Statutory Authority                                Regulatory Authority
66.034 - Surveys-Studies-Investigations-         Inflation Reduction Act: Sec. 60105(a)             2 CFR 200, 2 CFR 1500 and 40 CFR 33
Demonstrations and Special Purpose Activities
relating to the Clean Air Act                    Clean Air Act: Sec. 103




                                                                         Fiscal
                                                         Approp.         Budget                  Object                       Cost         Obligation /
          Site Name                 Req No       FY                                       PRC             Site/Project
                                                          Code         Organization              Class                     Organization    Deobligation
MONITORING                       240101G054     2231    E1SFX          01V5           000AMTXM1 4183      -                -                  $ 870,472
                                                                                                                                              $ 870,472
              Case 1:25-cv-00039-JJM-PAS                      Document 68-106    Filed 02/07/25     Page 80 of 155
                                                                PageID #: 5185
                                                                                             5Q - 00A01324 - 0   Page 3

Budget Summary Page
                                       Table A - Object Class Category                                Total Approved Allowable
                                             (Non-Construction)                                          Budget Period Cost
 1. Personnel                                                                                                                        $0
 2. Fringe Benefits                                                                                                                  $0
 3. Travel                                                                                                                           $0
 4. Equipment                                                                                                                $ 847,537
 5. Supplies                                                                                                                         $0
 6. Contractual                                                                                                               $ 20,000
 7. Construction                                                                                                                     $0
 8. Other                                                                                                                            $0
 9. Total Direct Charges                                                                                                     $ 867,537
 10. Indirect Costs: 0.00 % Base                                                                                                $ 2,935
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                                    $ 870,472
 12. Total Approved Assistance Amount                                                                                        $ 870,472
 13. Program Income                                                                                                                 $0
 14. Total EPA Amount Awarded This Action                                                                                    $ 870,472
 15. Total EPA Amount Awarded To Date                                                                                        $ 870,472
         Case 1:25-cv-00039-JJM-PAS          Document 68-106        Filed 02/07/25       Page 81 of 155
                                               PageID #: 5186
                                                                                  5Q - 00A01324 - 0   Page 4

                                   Attachment 1 - Project Description
The agreement provides funding under the Inflation Reduction Act (IRA) to Rhode Island Department of
Environmental Management for the expansion and enhancement of their air monitoring activities.
Specifically, the Rhode Island Department of Environmental Management Office of Air Resources
intends to use the funds for maintaining and upgrading the entire Rhode Island air monitoring network as
well as establishing a new multipollutant site. The upgraded equipment will lower the amount or
disruptions in monitoring due to downtime from their current aging equipment. Consistent monitoring will
help Rhode Island Department of Environmental Management to identify and address potential air
pollution issues. Investing in these air monitoring sites assures sustainability of the monitoring programs
for future generations. The monitoring will help to identify and address potential air pollution issues so
Rhode Island may more effectively identify and address existing, emerging, and future issues. The
project also aligns with EPA’s goal to modernize the technologies, equipment, and network design used
to measure air quality as well as enhance the quality and security of critical data collection, handling, and
reporting from the network. Consistent with the strategic plan, the environmental outcomes from this
grant include may reduce incidences of respiratory illnesses, including asthma and lung cancer, reduced
exposure to air pollutants, and improved visibility in and near disadvantaged communities.

Rhode Island Department of Environmental Management Office of Air Resources intends to use this
funding to replace select monitoring equipment at each of the monitoring sites as indicated Table 1.
Specifically, under §60105(a) several pieces of equipment at the Rhode Island site, 440070022, will be
replaced and under §60105(b) a new multipollutant site will be deployed and several pieces of monitoring
equipment at existing sites will be upgraded/replaced. Rhode Island Department of Environmental
Management intend to operate a new multipollutant site in Woonsocket. The site will be located in one of
the disadvantaged census tracts in the Woonsocket area. There are several census tracts in
Woonsocket considered disadvantaged meeting more than one burden thresholds and the associated
socioeconomic threshold. Rhode Island Department of Environmental Management will further
investigate these areas to determine which sites will be best suited for air monitoring and provide us with
useful data for analysis that can be used for policy and decision making. As noted in the project
description, in addition to the new multipollutant site, the funding will be used to purchase new equipment
across all Rhode Island Department of Environmental Management permanent monitoring sites. Vernon
St, Near Rd, Community College of Rhode Island and East Providence are all indicated on the Climate
and Economic Justice Screening Tool MAP within the narrative and all fall within areas of the map
highlighted as disadvantaged areas. Investing in these air monitoring sites assures sustainability of the
monitoring programs for future generations.Expected project outputs include:

• One new multipollutant air monitoring site

• Critical Equipment upgrades and replacement at all network sites (see Table 1 of narrative)

The following outcomes are expected from the project detailed above:

• Increased monitoring in disadvantaged communities.

• Increased public awareness of ambient air quality.

• Information about air quality in previously unmonitored areas.

• Potential identification of new air quality issues at the new multipollutant site.
         Case 1:25-cv-00039-JJM-PAS          Document 68-106        Filed 02/07/25      Page 82 of 155
                                               PageID #: 5187
                                                                                 5Q - 00A01324 - 0   Page 5

• Air monitoring data that supports policy and decision making.

• Increased sustainability of ambient air monitoring networks.

• Ability to better inform public of potential air pollution issues with state-of-the-art operating equipment.

• Benefits for disadvantages communities.

Consistent with the strategic plan, the environmental outcomes from this grant include may reduce
incidences of respiratory illnesses, including asthma and lung cancer, reduced exposure to air pollutants,
and improved visibility in and near disadvantaged communities.

The intended beneficiaries include the entire state of Rhode Island, with specific monitoring network sites
in Pawtucket, East Providence, Cranston, West Greenwich, Narragansett, and South Kingston, RI.

No subawards are included in this assistance agreement.
         Case 1:25-cv-00039-JJM-PAS         Document 68-106      Filed 02/07/25       Page 83 of 155
                                              PageID #: 5188
                                                                               5Q - 00A01324 - 0   Page 6

                                       Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at: https:
//www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-later

These terms and conditions are in addition to the assurances and certifications made as a part of the award
and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.
gov/grants/grant-terms-and-conditions#general

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for approval,
or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the following
email addresses:

       Federal Financial Reports (SF-425): rtpfc-grants@epa.gov
       MBE/WBE reports (EPA Form 5700-52A): r1_mbewbereport@epa.gov
       All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions
       of the Budget and Project Period, Amendment Requests, Requests for other Prior Approvals,
       updates to recipient information (including email addresses, changes in contact information or
       changes in authorized representatives) and other notifications: Grants Specialist,
                         Project Officer,
       Workplan revisions, equipment lists, programmatic reports and deliverables:

       Quality Assurance documents:                               AND R1QAPPs@epa.gov

B. Pre-Award Costs

In accordance with 2 CFR 1500.9, the recipient may charge otherwise allowable pre-award costs (both
Federal and non-Federal matching shares) incurred from 7.1.2024 to the actual award date provided that
such costs were contained in the approved application and all costs are incurred within the approved
budget period.
         Case 1:25-cv-00039-JJM-PAS            Document 68-106        Filed 02/07/25       Page 84 of 155
                                                 PageID #: 5189
                                                                                    5Q - 00A01324 - 0   Page 7

                                         Programmatic Conditions
Grant Specific Programmatic Terms and Conditions

A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT

Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports that include brief
information on each of the following areas: 1) A comparison of actual accomplishments to the outputs/outcomes
established in the assistance agreement work plan for the period; 2) The reasons why established outputs/outcomes
were not met; and 3) Additional pertinent information, including, when appropriate, analysis and explanation of
cost overruns or high-unit costs.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse conditions which will
materially impair the ability to meet the outputs/outcomes specified in the assistance agreement work plan are
known.

Interim performance and final progress reports must prominently display the three Essential Elements for state
work plans: 1) Strategic Plan Goal; (2) Strategic Plan Objective; and (3) Workplan Commitments plus time frame.

(See Grants Policy Issuance 11-03 State Grant Workplans and Progress Reports for more information)

Performance Reports - Frequency

The recipient agrees to submit semi-annual performance reports electronically to the EPA Project Officer within 30
days after the semi-annual reporting period ends. The recipient must submit the final performance report no later
than 120 calendar days after the end date of the period of performance.

   1.   If semi-annual performance reports are required, they are to be submitted electronically to the EPA Project
        Officer within 30 days after the reporting period (every six-month period based on project start date).

B. Cybersecurity Condition

State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance agreement, it
will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient's network or information system and EPA
networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency IT
system and an external IT system for the purpose of transferring information. Transitory, user-controlled
connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information Exchange Network
or EPA's Central Data Exchange, the recipient agrees to contact the EPA Project Officer (PO) and work with the
         Case 1:25-cv-00039-JJM-PAS             Document 68-106         Filed 02/07/25       Page 85 of 155
                                                  PageID #: 5190
                                                                                      5Q - 00A01324 - 0   Page 8

designated Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security
requirements, including entering into Interconnection Service Agreements as appropriate. This condition does not
apply to manual entry of data by the recipient into systems operated and used by EPA's regulatory programs for the
submission of reporting and/or compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to comply
with the requirements in (b)(1) if the subrecipient's network or information system is connected to EPA networks to
transfer data to the Agency using systems other than the Environmental Information Exchange Network or EPA's
Central Data Exchange. The recipient will be in compliance with this condition: by including this requirement in
subaward agreements; and during subrecipient monitoring deemed necessary by the recipient under 2 CFR 200.332
(d), by inquiring whether the subrecipient has contacted the EPA Project Officer. Nothing in this condition requires
the recipient to contact the EPA Project Officer on behalf of a subrecipient or to be involved in the negotiation of an
Interconnection Service Agreement between the subrecipient and EPA.

C. Data Reporting

Data and/or related observations must be shared publicly and in a practicable amount of time throughout the
lifetime of the project and not only after the project is at or near completion.

D. EPASS Security

In accordance with Homeland Security Presidential Directive-12 (HSPD-12), “Policy for a Common Identification
Standard of Federal Employees and Contractors;” Executive Order 13467, "Reforming Processes Related to
Suitability for Government Employment, Fitness for Contractor Employees, and Eligibility for Access to Classified
National Security Information;" and Executive Order 13488, "Granting Reciprocity on Excepted Service and
Federal Contractor Employee Fitness and Reinvestigating Individuals in Positions of Public Trust," the recipient
agrees to follow instructions from the EPA project officer to ensure compliance with the EPA Personnel Access and
Security System (EPASS).

Prior to beginning work at an EPA facility, the recipient, or its employees or program participants, must complete
either:

A. A favorable fingerprint check for recipients (and their employees or program participants) who require six (6)
months or less of unescorted physical access to EPA facilities; or
B. A favorable background investigation and fingerprint check for recipients (and their employees or program
participants) who require more than six (6) months of unescorted physical access to EPA facilities.

Recipients, their employees, or program participants may not be permitted access to EPA facilities until meeting
these requirements.

Recipients may initiate the appropriate check through the following link: https://cdx.epa.gov

Failure of a recipient, their employees, or program participants to receive a favorable fingerprint or background
check, whichever is applicable, shall result in the termination of the recipient, the employees, or program
participants from continued enrollment in the program.

E. Quality Assurance

Authority: Quality Assurance applies to all assistance agreements involving environmental information as defined
         Case 1:25-cv-00039-JJM-PAS            Document 68-106        Filed 02/07/25       Page 86 of 155
                                                 PageID #: 5191
                                                                                    5Q - 00A01324 - 0   Page 9

in 2 C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving environmental information issued under this agreement include
appropriate quality requirements for the work. The recipient shall ensure sub-award recipients develop and
implement a Quality Assurance (QA) planning document in accordance with this term and condition; and/or ensure
sub-award recipients implement all applicable approved QA planning documents.

   1.   Quality Assurance Project Plan(s) (QAPP)

Prior to beginning environmental information operations, the recipient must:

   1.   Prepare a QAPP(s) for all applicable projects and tasks involving environmental information operations in
        accordance with the current version of EPA's Quality Assurance Project Plan (QAPP) Standard;

   2.   Submit the document for EPA review and approval at least sixty (60) days before environmental
        information operations begin. QAPPs are submitted by e-mail to both the EPA Project Officer (PO) (see
        page 1 of the assistance agreement for contact information) and the Region 1 Quality Assurance Branch
        (QAB) at R1QAPPS@epa.gov;

   3.   Obtain EPA approval from both the EPA PO and Regional Quality Assurance Manager (RQAM) (or
        delegated QA Reviewer) prior to the start of environmental information operations.



   2.   Quality Management Plan (QMP) (only applicable to organizations with existing, EPA-approved QMPs)

   1.   Submit the current EPA-approved QMP to the EPA Project Officer (PO) within sixty (60) days after grant
        award. The EPA PO will confirm that the QMP remains current (i.e., it was approved by EPA within the
        last five-years). The EPA PO shall confirm the status of the QMP with Region 1 Quality Assurance
        Manager (RQAM), if needed.

   2.   The recipient must review their EPA-approved QMP at least annually.These reviews shall be documented
        and made available to the EPA PO and/or RQAM, if requested. When necessary, the recipient shall revise
        its QMP to incorporate minor changes and notify the EPAPO and RQAM of the changes. If significant
        changes have been made to the Quality Program that affect the performance of environmental information
        operations, it may be necessary to re-submit the entire QMP for re-approval. In general, a copy of any
        QMP revision(s) made during the year should be submitted to the EPA PO and RQAM in writing when
        such changes occur. Conditions requiring the revision and resubmittal of an approved QMP can be found in
        section 6 of EPA's Quality Management Plan (QMP) Standard


“Environmental information operations” is a collective term for work performed to collect, produce, evaluate, or
use environmental information and the design, construction, operation, or application of environmental technology.
For EPA, environmental information includes direct measurements of environmental parameters or processes,
analytical testing of environmental conditions, information provided by models, information compiled from other
sources such as databases, software applications, or existing literature, the development of environmental software,
          Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25        Page 87 of 155
                                                  PageID #: 5192
                                                                                      5Q - 00A01324 - 0   Page 10

tools, or models, or the design, construction, operation, or application of environmental technology.

To assist meeting these requirements, regional guidance documents and resources are available at Region 1 Quality
Program Documents and national (Agency-wide) QA Directives are available at EPA Quality Program Directives.

For Reference:

• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP) Standard; contain
quality specifications for EPA and non-EPA organizations and definitions applicable to these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans.

• (QAM and/or PO may insert QA references that inform or assist the recipient here).

• EPA's Quality Program website has a list of QA managers, and Specifications for EPA and Non-EPA
Organizations.

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for Organizations
Receiving EPA Financial Assistance.

F. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach materials, or
reports, it must not be prominently displayed to imply that any of the recipient or subrecipient's activities are being
conducted by the EPA. Instead, the EPA logo should be accompanied with a statement indicating that the [Insert
Recipient or subrecipient NAME] received financial support from the EPA under an Assistance Agreement. More
information is available at: https://www.epa.gov/stylebook/using-epa-seal-and-logo#policy

G. Competency Policy

Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance Agreements,
Recipient agrees, by entering into this agreement, that it has demonstrated competency prior to award, or
alternatively, where a pre-award demonstration of competency is not practicable, Recipient agrees to demonstrate
competency prior to carrying out any activities under the award involving the generation or use of environmental
data. Recipient shall maintain competency for the duration of the project period of this agreement and this will be
documented during the annual reporting process. A copy of the Policy is available online at https://www.epa.
gov/sites/production/files/2015-03/documents/competency-policy-aaianew.pdf or a copy may also be requested by
contacting the EPA Project Officer for this award.

H. Public or Media Events

The Recipient agrees to notify the EPA Project Officer listed in this award document of public or media events
publicizing the accomplishment of significant events related to construction projects as a result of this agreement,
and provide the opportunity for attendance and participation by federal representatives with at least ten (10)
working days' notice.
         Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25       Page 88 of 155
                                                 PageID #: 5193
                                                                                    5Q - 00A01324 - 0   Page 11

I. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC) endorsed
standards. Information on these standards may be found at https://www.fgdc.gov/.

J. Pre- Award Costs

In accordance with 2 CFR 1500.8, the grantee may charge pre-award costsincurred from 07/01/2024 to the actual
award date provided that such costs were contained in the approved application and all costs are incurred within the
approved budget period.

K. Davis-Bacon Related Act Term and Condition

1. Program Applicability

a. Program Name: Fenceline Air Monitoring: Direct Awards - IRA Only

b. Statute Requiring Compliance: Section 314 of the Clean Air Act.

c. Activities subject to prevailing wage requirements: Construction activities conducted under a fenceline air
monitoring grant.

d. The recipient must work with the appropriate authorities to determine wage classifications for the specific project
(s) or activities subject to Davis-Bacon under this grant.

2. Davis-Bacon and Related Acts

Davis-Bacon and Related Acts (DBRA) (https://www.dol.gov/agencies/whd/government-contracts/construction) is
a collection of labor standards provisions administered by the Department of Labor, that are applicable to grants
involving construction. These labor standards include the:

a. Davis-Bacon Act, which requires payment of prevailing wage rates for laborers and mechanics on construction
contracts of $2,000 or more;

b. Copeland “Anti-Kickback” Act, which prohibits a contractor or subcontractor from inducing an employee into
giving up any part of the compensation to which he or she is entitled; and

c. Contract Work Hours and Safety Standards Act, which requires overtime wages to be paid for over 40 hours of
work per week, under contracts in excess of $100,000.

3. Recipient Responsibilities When Entering Into and Managing Contracts

a. Solicitation and Contract Requirements:

        (1) Include the Correct Wage Determinations in Bid Solicitations and Contracts: Recipients are responsible
        for complying with the procedures provided in 29 CFR 1.6 when soliciting bids and awarding contracts.

        (2) Include DBRA Requirements in All Contracts: Include the following text on all contracts under this
        grant:
         Case 1:25-cv-00039-JJM-PAS           Document 68-106        Filed 02/07/25       Page 89 of 155
                                                PageID #: 5194
                                                                                  5Q - 00A01324 - 0   Page 12

        “By accepting this contract, the contractor acknowledges and agrees to the terms provided in the DBRA
        Requirements for Contractors and Subcontractors Under EPA Grants (https://www.epa.gov/grants/contract-
        provisions-davis-bacon-and-related-acts).”

b. After Award of Contract:

        (1) Approve and Submit Requests for Additional Wages Rates: Work with contractors to request additional
        wage rates if required for contracts under this grant, as provided in 29 CFR 5.5(a)(1)(iii).

        (2) Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure contractor
        compliance with the terms of the contract, as required by 29 CFR 5.6.

4. Recipient Responsibilities When Establishing and Managing Additional Subawards

a. Include DBRA Requirements in All Subawards (including Loans): Include the following text on all subawards
under this grant:

        “By accepting this award, the EPA subrecipient acknowledges and agrees to the terms and conditions
        provided in the DBRA Requirements for EPA Subrecipients (https://www.epa.gov/grants/contract-
        provisions-davis-bacon-and-related-acts).”

b. Provide Oversight to Ensure Compliance with DBRA Provisions: Recipients are responsible for oversight of
subrecipients and must ensure subrecipients comply with the requirements in 29 CFR 5.6.

5. Consideration as Part of Every Prime Contract Covered by DBRA

The contract clauses set forth in this Term & Condition, along with the correct wage determinations, will be
considered to be a part of every prime contract covered by Davis-Bacon and Related Acts (see 29 CFR 5.1), and
will be effective by operation of law, whether or not they are included or incorporated by reference into such
contract, unless the Department of Labor grants a variance, tolerance, or exemption. Where the clauses and
applicable wage determinations are effective by operation of law under this paragraph, the prime contractor must be
compensated for any resulting increase in wages in accordance with applicable law.
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 90 of 155
                               PageID #: 5195




                      EXHIBIT K
    Case 1:25-cv-00039-JJM-PAS          Document 68-106         Filed 02/07/25     Page 91 of 155
                                          PageID #: 5196

                             Inflation Reduction Act of 2022 (IRA)
                       Air Monitoring Direct Award §60105(a)and (b)
                                             Work Plan
                                           April 26, 2024


Project Title: IRA Air Monitoring Direct Award


Project Period: July 1, 2024 – June 30, 2029


Amount of Funding: $870,472


Place of Performance: Entire State of Rhode Island


Applicant Information: Rhode Island Department of Environmental Management
                             Office of Air Resources
                             235 Promenade Street
                             Providence, RI 02908
                             www.dem.ri.gov


Primary Point of Contact:                    , Deputy Administrator




Project Background: The Inflation Reduction Act (IRA) passed by Congress in August 2022 provided
funding for direct various fence-line, and multipollutant air monitoring activities. Sections 60105 (a)
and (b) of IRA provide funding for grants and other activities authorized under subsections (a) through
(c) of sections 103 and 105 of the Clean Air Act. This funding will support activities related to
establishing new air monitoring stations or for maintaining, operating, or upgrading existing monitoring
stations.
The Rhode Island Department of Environmental Management Office of Air Resources intends to use
the funds for maintaining and upgrading the entire RI air monitoring network as well as establishing a
new multipollutant site. The current RI Air Monitoring Network is pictured in Figure 1.
     Case 1:25-cv-00039-JJM-PAS          Document 68-106        Filed 02/07/25   Page 92 of 155
                                           PageID #: 5197

Figure 1: RI Air Monitoring Network Locations




 1     Vernon St              Vernon St, Pawtucket, Ri
 2     Myron Francis School   64 Bourne Ave, East Providence, RI
 3     CCRI Liston Campus     1 Hilton St, Providence, RI
 4     Near Rd                750 Wellington Ave, Cranston, RI
 5     Alton Jones            Victory Highway, West Greenwich, RI
 6     USEPA Lab              27 Tarzwell Dr, Narragansett., RII
 7     East Matunuck          950 Succotash Rd, South Kingstown, RI
    Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25      Page 93 of 155
                                            PageID #: 5198



Roles and Responsibilities
The Rhode Island Department of Environmental Management Office of Air Resources (RIDEM OAR), in
conjunction with the Rhode Island Department of Health Air Pollution Lab (HEALTH APL) operate a
network of air monitoring stations to measure ambient concentrations of pollutants for which EPA has
established National Ambient Air Quality Standards (NAAQS). RIDEM OAR will be the primary recipient
of the grant contracting the operation of the air monitoring network to the HEALTH APL. RIDEM OAR
will be responsible for oversight of all tasks related to this grant and assuring that all work is done in a
timely manner. HEALTH APL will be responsible for deploying all new equipment in the field,
maintaining the equipment, analysis of samples or shipping of samples to appropriate laboratories for
analysis as directed.

Key personnel for this project include:
   •                  , a Deputy Administrator in the OAR, with 35 years of experience in air toxics,
       planning and monitoring, will be the Co-Project Manager. She authored and oversees all
       aspects of the 2024 IRA Direct Award, the 2022 ARP Direct Award Grant, the 2020 Community
       Scale Air Toxics Monitoring Grant and 2021 and 2022 Exchange Network grants, prepares and
       reviews QAPPs and relevant SOPs, manages the Section 103 grants and participated in the
       completion of the 2015 Community-Scale Air Toxics Ambient Monitoring grants. She will be
       responsible for EPA grant reporting, assuring that project outcomes, outputs and performance
       measures are met, and oversight of the budget.



   •                 , a State Meteorologist in the OAR, with 20 years of experience in air monitoring
       and meteorology will act as Co-Project Manager for this grant. He will act as the main liaison
       with the HEALTH APL and be responsible for oversight of the equipment ordering process and
       deployment of all equipment.           is currently managing the ARP Direct Award and IRA
       Direct Award activities. Additionally, he continues presentations and community outreach
       related to the 2020 Community Scale Air Toxics Grant.           was previously involved in siting
       of a new ozone monitoring site, relocation of the NATTS site, and relocation of the RI Near-
       Road monitoring site.


   •                  , Supervising Environmental Laboratory Scientist, manages the Department of
       Health, Air Pollution Lab, where she has worked for over 22 years. She is responsible for
       supervision of all aspects of operations at HEALTH APL including equipment selection,
       deployment, operation and troubleshooting, as well as submitting data to AQS, as required.
       Melinda has assisted in all grants mentioned above and plays a critical role in implementing all
       aspects of the grants.
    Case 1:25-cv-00039-JJM-PAS          Document 68-106           Filed 02/07/25   Page 94 of 155
                                          PageID #: 5199

Project Description
§60105(a) of the IRA air monitoring grant program provides funding “to deploy, integrate, support, and
maintain fenceline air monitoring, screening air monitoring, national air toxics trend stations, and
other air toxics and community monitoring.” §60105(b) of the IRA air monitoring grant program
provides funding “to expand the national ambient air quality monitoring network with new
multipollutant monitoring stations; and to replace, repair, operate, and maintain existing monitors.”
RIDEM OAR intends to use this funding to replace select monitoring equipment at each of the
monitoring sites as indicated Table 1. Specifically, under §60105(a) several pieces of equipment at the
RI NATTS site, 440070022, will be replaced and under §60105(b) a new multipollutant site will be
deployed and several pieces of monitoring equipment at existing sites will be upgraded/replaced.
Please note, the equipment slated to be replaced is subject to change based on current market
conditions and cost of equipment at the time of purchase. This list represents the intended
replacements based on estimated costs available at the time of writing this plan. Any changes will be
noted on semiannual reports submitted to EPA.
Table 1: Equipment List by Site

 SITE ID                                Quantity        Price          Total
 440030002        AJ Shelter            1               $77,565        $77,565
 440030002        BAMs                  1               $25,250        $25,250
 440030002        Xontech               1               $11,400        $11,400
 440030002        Calibrator            1               $27,050        $27,050
 440030002        Ozone 2b              1               $10,000        $10,000
 440030002        Zero Air Box          1               $7,600         $7,600
 440070022        BAMs                  1               $25,250        $25,250
 440070022        Xontech               1               $11,400        $11,400
 440070022        Carbonyl Atec         1               $9,660         $9,660
 440070022        Met Stations          1               $6,000         $6,000
 440070026        BAMs                  1               $25,250        $25,250
 440070026        Xontech               1               $11,400        $11,400
 440071010        NO-NO2-NOX            2               $26,534        $53,068
 440071010        SO2                   1               $21,872        $21,872
 440071010        CO analyzer           2               $22,998        $45,996
 440071010        data loggers          1               $15,450        $15,450
 440071010        URG                   1               $17,192        $17,265
 440071010        Calibrator            1               $27,050        $27,050
 440071010        SAS - PM 2.5          1               $20,000        $20,000
                  speciation (SASS)
 440071010        Ozone Thermo          1               $19,270        $19,270
 440071010        Zero Air Box          1               $7,600         $7,600
 440071010        Carbonyl Atec         1               $9,660         $9,660
 440071010        Met Stations          1               $6,000         $6,000
 440071010        LoVol/HiVol (coarse   1               $30,000        $30,000
                  PM10)
  Case 1:25-cv-00039-JJM-PAS        Document 68-106       Filed 02/07/25   Page 95 of 155
                                      PageID #: 5200

440071010   Particle Count          1           $30,000        $30,000
440090007   data loggers            1           $15,450        $15,450
440090007   BAMs                    1           $25,250        $25,250
440090007   Calibrator              1           $27,050        $27,050
440090007   Ozone Thermo            1           $19,270        $19,270
440090008   data loggers            1           $15,450        $15,450
Lab/new     PM25 Scale at new lab   1           $79,311        $79,311
lab         HPLC                    1           $74,000        $74,000
New         data loggers            1           $15,450        $15,450
New         BAMs                    1           $25,250        $25,250
TOTAL                                                          $847,537
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 96 of 155
                               PageID #: 5201
    Case 1:25-cv-00039-JJM-PAS          Document 68-106       Filed 02/07/25     Page 97 of 155
                                          PageID #: 5202

In supporting the Justice40 initiative, an investment will be made in upgrading and modernizing air
monitoring equipment at all permanent network monitoring sites in Rhode Island. The upgraded
equipment will lower the amount or disruptions in monitoring due to downtime from our current aging
equipment. Consistent monitoring will help us to identify and address potential air pollution issues.
We intend to operate a new multipollutant site in Woonsocket. The site will be located in one of the
disadvantaged census tracts in the Woonsocket area. There are several census tracts in Woonsocket
considered disadvantaged meeting more than one burden thresholds and the associated
socioeconomic threshold. We will further investigate these areas to determine which sites will be best
suited for air monitoring and provide us with useful data for analysis that can be us for policy and
decision making.




Figure 3:Woonsocket Census Tracts Identified as Overburdened and Underserved (Climate and
Economic Justice Screening Tool)
    Case 1:25-cv-00039-JJM-PAS                 Document 68-106    Filed 02/07/25    Page 98 of 155
                                                 PageID #: 5203

As noted in the project description, in addition to the new multipollutant site, the funding will be used
to purchase new equipment across all our permanent monitoring sites. Vernon St, Near Rd, CCRI and
East Providence are all indicated on the CEJST MAP below (red X) and all fall within areas of the map
highlighted as disadvantaged areas. Investing in these air monitoring sites assures sustainability of the
monitoring programs for future generations.




Figure 4: Location of Current Monitoring Sites in or near Disadvantaged Census Tracts (Climate and
Economic Justice Screening Tool)

Strategic Plan Linkage
This project supports EPA’s FY 2022-2026 Strategic Plan 3 Goal 4, Ensure Clean and Healthy Air for All
Communities, specifically Objective 4.1, Improve Air Quality and Reduce Localized Pollution and Health
Impacts. In supporting this goal, new modernized air monitoring equipment will be employed at all
permanent monitoring sites, contributing to sustainability of the air monitoring network. In addition, a
new site will be added in a disadvantaged area allowing us to evaluate air pollution levels in this

3 https://www.epa.gov/planandbudget/strategicplan
    Case 1:25-cv-00039-JJM-PAS               Document 68-106          Filed 02/07/25    Page 99 of 155
                                               PageID #: 5204

community. The monitoring will help us to identify and address potential air pollution issues so we may
more effectively identify and address existing, emerging, and future issues. The project also aligns with
EPA’s goal to modernize the technologies, equipment, and network design used to measure air quality
as well as enhance the quality and security of critical data collection, handling, and reporting from the
network.
Consistent with the strategic plan, the environmental outcomes from this grant include may reduce
incidences of respiratory illnesses, including asthma and lung cancer, reduced exposure to air
pollutants, and improved visibility in and near disadvantaged communities.

Project Outputs and Outcomes
Expected project outputs include:

    •   One new multipollutant air monitoring site
    •   Critical Equipment upgrades and replacement at all network sites (see Table 1)
The following outcomes are expected from the project detailed above:

    •   Increased monitoring in disadvantaged communities.
    •   Increased public awareness of ambient air quality.
    •   Information about air quality in previously unmonitored areas.
    •   Potential identification of new air quality issues at the new multipollutant site.
    •   Air monitoring data that supports policy and decision making.
    •   Increased sustainability of ambient air monitoring networks.
    •   Ability to better inform public of potential air pollution issues with state-of-the-art operating
        equipment.
    •   Benefits for disadvantages communities.

Timeline
Following is the timeline for the proposed task indicated in this proposal:
 Task               2024     2025              2026            2027             2028          2029

                    7/24-    1/25-   7/25-     1/26-   7/26-   1/27-    7/27-   1/28-   7/28- 1/29-
                    12/ 24   6/25    12/25     6/26    12/26   6/ 27    12/27   6/28    9/28 6/29

 Grant Awarded      x

 Equipment Bid      x        x       x         x       x       x        x
 Process

 Equipment                           x         x       x       x        x       x       x
 Installation

 Semi Annual                 x       x         x       x       x        x       x       x
 Report

 Final Report                                                                                 x
   Case 1:25-cv-00039-JJM-PAS          Document 68-106        Filed 02/07/25     Page 100 of 155
                                         PageID #: 5205



Performance Measures
The following performance measures will be utilized to track the success of meeting the outcomes of
the project:

   •   Successful installation of a new monitoring site in the Woonsocket area.
   •   Successful upgrade of select existing air monitoring equipment within budget.
   •   Semi-annual grant reporting on technical progress, planned activities for the next six months,
       and expenditures.
   •   A final report including: a summary of the project, the problems, successes, and lessons
       learned from the project, advances achieved, and cost of the project, shall be submitted 120
       days after the completion of the performance period of the project.
   •   Updated RIDEM OAR Webpage Information regarding the new monitoring site/ press release.
   Case 1:25-cv-00039-JJM-PAS          Document 68-106         Filed 02/07/25    Page 101 of 155
                                         PageID #: 5206



BUDGET DETAIL
As shown in the budget table below, the IRA Air Monitoring Grant will be used for the purchase of
equipment and contracts for the air monitoring network.
Existing State personnel, equipment and other resources will be leveraged for this project.
Responsibilities of RIDEM OAR and RIDOH APL personnel, financed through a combination of state and
federal grants, include managing the project; ordering equipment and supplies; installation of
equipment; and any other necessary task related to project completion.
 Budget Category                                          Totals

 Personnel                                                 n/a


 Fringe Benefits                                           n/a

 Travel                                                    n/a

 Equipment (from Table 1)                                 $847,537

 Supplies                                                 $0


 Contractual                                              $20,000



                            CCRI            $10,000
                            Heating/Cooling
                            Met Repair      $10,000

 Other

 Total Direct Charges                                     $867,537

 Total Indirect Charges                                   $2,935

 Total Charges                                             $870,472
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 102 of 155
                               PageID #: 5207




                      EXHIBIT L
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 103 of 155
                               PageID #: 5208
            Case 1:25-cv-00039-JJM-PAS                    Document 68-106                 Filed 02/07/25            Page 104 of 155
                                                            PageID #: 5209
                                                                                                              5U - 00A01325 - 0   Page 2

                                                       EPA Funding Information
              FUNDS                                    FORMER AWARD                             THIS ACTION                           AMENDED TOTAL
EPA Amount This Action                                                  $0                             $ 21,925                                $ 21,925
EPA In-Kind Amount                                                      $0                                    $0                                     $0
Unexpended Prior Year Balance                                           $0                                    $0                                     $0
Other Federal Funds                                                     $0                                    $0                                     $0
Recipient Contribution                                                  $0                                    $0                                     $0
State Contribution                                                      $0                                    $0                                     $0
Local Contribution                                                      $0                                    $0                                     $0
Other Contribution                                                      $0                                    $0                                     $0
Allowable Project Cost                                                  $0                             $ 21,925                                $ 21,925



Assistance Program (CFDA)                        Statutory Authority                               Regulatory Authority
66.034 - Surveys-Studies-Investigations-         Inflation Reduction Act: Sec. 60105c              2 CFR 200, 2 CFR 1500 and 40 CFR 33
Demonstrations and Special Purpose Activities
relating to the Clean Air Act                    Clean Air Act: Sec. 103




                                                                         Fiscal
                                                         Approp.         Budget                 Object                        Cost         Obligation /
          Site Name                 Req No       FY                                     PRC               Site/Project
                                                          Code         Organization             Class                      Organization    Deobligation
SENSOR                           240101G055     2231    E1SFX          01V5           000AMTXM3 4183      -                -                   $ 21,925
                                                                                                                                               $ 21,925
             Case 1:25-cv-00039-JJM-PAS                      Document 68-106    Filed 02/07/25     Page 105 of 155
                                                               PageID #: 5210
                                                                                             5U - 00A01325 - 0   Page 3

Budget Summary Page
                                       Table A - Object Class Category                                Total Approved Allowable
                                             (Non-Construction)                                          Budget Period Cost
 1. Personnel                                                                                                                          $0
 2. Fringe Benefits                                                                                                                    $0
 3. Travel                                                                                                                             $0
 4. Equipment                                                                                                                    $ 21,235
 5. Supplies                                                                                                                           $0
 6. Contractual                                                                                                                     $ 600
 7. Construction                                                                                                                       $0
 8. Other                                                                                                                              $0
 9. Total Direct Charges                                                                                                         $ 21,835
 10. Indirect Costs: 0.00 % Base                                                                                                     $ 90
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                                        $ 21,925
 12. Total Approved Assistance Amount                                                                                            $ 21,925
 13. Program Income                                                                                                                    $0
 14. Total EPA Amount Awarded This Action                                                                                        $ 21,925
 15. Total EPA Amount Awarded To Date                                                                                            $ 21,925
         Case 1:25-cv-00039-JJM-PAS           Document 68-106          Filed 02/07/25     Page 106 of 155
                                                PageID #: 5211
                                                                                    5U - 00A01325 - 0   Page 4

                                    Attachment 1 - Project Description
This agreement provides funding under the Inflation Reduction Act (IRA) to Rhode Island Department of
Environmental Management (RIDEM). Specifically, the recipient will use the funds to increase coverage
of low-cost sensors across the entire state of Rhode Island. With this grant, in addition to having a fleet of
low-cost sensors, Rhode Island Department of Environmental Management intend to have several
available for public loan for special situations when and where monitoring may be valuable, and intend to
have sensors available for citizen science and educational purposes. In addition to the Purple Air
sensors, Rhode Island will invest in up to two SENSIT Spods, 24-hour volatile organic compound
sensors, to be placed in disadvantaged communities where there is a need for volatile organic compound
data in addition to particulate matter 25 data or areas experiencing unique air quality issues where more
information is necessary. Rhode Island Department of Environmental Management Office of Air
Resources intends to use this funding to install Purple Air sensors in areas of Rhode Island lacking
sensors with a particular emphasis on disadvantages communities. With the funding Rhode Island
Department of Environmental Management Office of Air Resources will purchase up to 18 Purple Air
units with the final number dependent on the cost at the time of purchase. In addition to the Purple Air
sensors, Rhode Island will invest in up to two SENSIT Spods, 24-hour volatile organic compound
sensors, to be placed in disadvantaged communities as identified on the Climate and Economic Justice
Screening Tool map. The locations will be determined after full evaluation of the census tracts for the
best locations for the sensors. The SENSIT Spods will be deployed at each of the locations for a
minimum of six months. Expected project outputs include:

• Deployment of air quality sensors in/near low-income or disadvantaged communities;

• Real-time air quality data availability for low-income or disadvantaged communities;

• Assessments of community-based air quality concerns;

The following outcomes are expected from the project detailed above:

• Increased monitoring in disadvantaged communities.

• Increased public awareness of ambient air quality.

• Information about air quality in previously unmonitored areas.

• Potential identification of new air quality issues.

• Air monitoring data that supports policy and decision making.

• Ability to better inform public of potential air pollution issues.

• Better tracking of pollution during wildfire smoke incidents

• Benefits for disadvantages communities.

The intended beneficiaries include the citizens of Rhode Island. In supporting the Justice40 initiative, a
Purple Air sensor will be sited in disadvantaged communities currently lacking coverage, as well as other
areas in Rhode Island abutting disadvantaged communities. This will allow for full coverage of Rhode
        Case 1:25-cv-00039-JJM-PAS       Document 68-106      Filed 02/07/25      Page 107 of 155
                                           PageID #: 5212
                                                                            5U - 00A01325 - 0   Page 5

Island especially during wildfire events where it is critical that Rhode Island tracks the movement of
smoke and particulate matter 25 levels for advance public notice of unhealthy air conditions approaching.

No subawards are included in this assistance agreement.
        Case 1:25-cv-00039-JJM-PAS         Document 68-106       Filed 02/07/25      Page 108 of 155
                                             PageID #: 5213
                                                                               5U - 00A01325 - 0   Page 6

                                       Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at: https:
//www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-later

These terms and conditions are in addition to the assurances and certifications made as a part of the award
and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.
gov/grants/grant-terms-and-conditions#general

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for approval,
or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the following
email addresses:

       Federal Financial Reports (SF-425): rtpfc-grants@epa.gov
       MBE/WBE reports (EPA Form 5700-52A): r1_mbewbereport@epa.gov
       All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions
       of the Budget and Project Period, Amendment Requests, Requests for other Prior Approvals,
       updates to recipient information (including email addresses, changes in contact information or
       changes in authorized representatives) and other notifications: Grants Specialist,
                         Project Officer,
       Workplan revisions, equipment lists, programmatic reports and deliverables:

       Quality Assurance documents:                               AND R1QAPPs@epa.gov

B. Pre-Award Costs

In accordance with 2 CFR 1500.9, the recipient may charge otherwise allowable pre-award costs (both
Federal and non-Federal matching shares) incurred from 7.1.2024 to the actual award date provided that
such costs were contained in the approved application and all costs are incurred within the approved
budget period.
        Case 1:25-cv-00039-JJM-PAS         Document 68-106      Filed 02/07/25      Page 109 of 155
                                             PageID #: 5214
                                                                              5U - 00A01325 - 0   Page 7

                                      Programmatic Conditions
Grant Specific Programmatic Terms and Conditions

A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT

Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports that include brief
information on each of the following areas: 1) A comparison of actual accomplishments to the
outputs/outcomes established in the assistance agreement work plan for the period; 2) The reasons why
established outputs/outcomes were not met; and 3) Additional pertinent information, including, when
appropriate, analysis and explanation of cost overruns or high-unit costs.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse conditions which
will materially impair the ability to meet the outputs/outcomes specified in the assistance agreement work
plan are known.

Interim performance and final progress reports must prominently display the three Essential Elements for
state work plans: 1) Strategic Plan Goal; (2) Strategic Plan Objective; and (3) Workplan Commitments
plus time frame.

(See Grants Policy Issuance 11-03 State Grant Workplans and Progress Reports for more information)

Performance Reports - Frequency

The recipient agrees to submit semi-annual performance reports electronically to the EPA Project Officer
within 30 days after the semi-annual reporting period ends. The recipient must submit the final
performance report no later than 120 calendar days after the end date of the period of performance.

   1.   If semi-annual performance reports are required, they are to be submitted electronically to the EPA
        Project Officer within 30 days after the reporting period (every six-month period based on project
        start date).

B. Cybersecurity Condition

State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient's network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency
IT system and an external IT system for the purpose of transferring information. Transitory, user-
        Case 1:25-cv-00039-JJM-PAS         Document 68-106      Filed 02/07/25      Page 110 of 155
                                             PageID #: 5215
                                                                              5U - 00A01325 - 0   Page 8

controlled connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information Exchange
Network or EPA's Central Data Exchange, the recipient agrees to contact the EPA Project Officer (PO)
and work with the designated Regional/Headquarters Information Security Officer to ensure that the
connections meet EPA security requirements, including entering into Interconnection Service Agreements
as appropriate. This condition does not apply to manual entry of data by the recipient into systems
operated and used by EPA's regulatory programs for the submission of reporting and/or compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to
comply with the requirements in (b)(1) if the subrecipient's network or information system is connected to
EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA's Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and EPA.

C. Data Reporting

Data and/or related observations must be shared publicly and in a practicable amount of time throughout
the lifetime of the project and not only after the project is at or near completion.

D. EPASS Security

In accordance with Homeland Security Presidential Directive-12 (HSPD-12), “Policy for a Common
Identification Standard of Federal Employees and Contractors;” Executive Order 13467, "Reforming
Processes Related to Suitability for Government Employment, Fitness for Contractor Employees, and
Eligibility for Access to Classified National Security Information;" and Executive Order 13488, "Granting
Reciprocity on Excepted Service and Federal Contractor Employee Fitness and Reinvestigating
Individuals in Positions of Public Trust," the recipient agrees to follow instructions from the EPA project
officer to ensure compliance with the EPA Personnel Access and Security System (EPASS).

Prior to beginning work at an EPA facility, the recipient, or its employees or program participants, must
complete either:

A. A favorable fingerprint check for recipients (and their employees or program participants) who require
six (6) months or less of unescorted physical access to EPA facilities; or
B. A favorable background investigation and fingerprint check for recipients (and their employees or
program participants) who require more than six (6) months of unescorted physical access to EPA
facilities.

Recipients, their employees, or program participants may not be permitted access to EPA facilities until
meeting these requirements.
        Case 1:25-cv-00039-JJM-PAS         Document 68-106       Filed 02/07/25      Page 111 of 155
                                             PageID #: 5216
                                                                               5U - 00A01325 - 0   Page 9

Recipients may initiate the appropriate check through the following link: https://cdx.epa.gov

Failure of a recipient, their employees, or program participants to receive a favorable fingerprint or
background check, whichever is applicable, shall result in the termination of the recipient, the employees,
or program participants from continued enrollment in the program.

E. Quality Assurance

Authority: Quality Assurance applies to all assistance agreements involving environmental information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving environmental information issued under this
agreement include appropriate quality requirements for the work. The recipient shall ensure sub-award
recipients develop and implement a Quality Assurance (QA) planning document in accordance with this
term and condition; and/or ensure sub-award recipients implement all applicable approved QA planning
documents.

Quality Assurance Project Plan(s) (QAPP)

Prior to beginning environmental information operations, the recipient must:

   1.   Prepare a QAPP(s) for all applicable projects and tasks involving environmental information
        operations in accordance with the current version of EPA's Quality Assurance Project Plan (QAPP)
        Standard;

   2.   Submit the document for EPA review and approval at least sixty (60) days before environmental
        information operations begin. QAPPs are submitted by e-mail to both the EPA Project Officer
        (PO) (see page 1 of the assistance agreement for contact information) and the Region 1 Quality
        Assurance Branch (QAB) at R1QAPPS@epa.gov;

   3.   Obtain EPA approval from both the EPA PO and Regional Quality Assurance Manager (RQAM)
        (or delegated QA Reviewer) prior to the start of environmental information operations.

Quality Management Plan (QMP) (only applicable to organizations with existing, EPA-approved QMPs)

   1.   Submit the current EPA-approved QMP to the EPA Project Officer (PO) within sixty (60) days
        after grant award. The EPA PO will confirm that the QMP remains current (i.e., it was approved by
        EPA within the last five-years). The EPA PO shall confirm the status of the QMP with Region 1
        Quality Assurance Manager (RQAM), if needed.

   2.
        The recipient must review their EPA-approved QMP at least annually.These reviews shall be
        documented and made available to the EPA PO and/or RQAM, if requested. When necessary, the
        recipient shall revise its QMP to incorporate minor changes and notify the EPAPO and RQAM of
        the changes. If significant changes have been made to the Quality Program that affect the
        Case 1:25-cv-00039-JJM-PAS        Document 68-106      Filed 02/07/25      Page 112 of 155
                                            PageID #: 5217
                                                                            5U - 00A01325 - 0   Page 10

       performance of environmental information operations, it may be necessary to re-submit the entire
       QMP for re-approval. In general, a copy of any QMP revision(s) made during the year should be
       submitted to the EPA PO and RQAM in writing when such changes occur. Conditions requiring
       the revision and resubmittal of an approved QMP can be found in section 6 of EPA's Quality
       Management Plan (QMP) Standard

“Environmental information operations” is a collective term for work performed to collect, produce,
evaluate, or use environmental information and the design, construction, operation, or application of
environmental technology. For EPA, environmental information includes direct measurements of
environmental parameters or processes, analytical testing of environmental conditions, information
provided by models, information compiled from other sources such as databases, software applications, or
existing literature, the development of environmental software, tools, or models, or the design,
construction, operation, or application of environmental technology.

To assist meeting these requirements, regional guidance documents and resources are available at Region 1
Quality Program Documents and national (Agency-wide) QA Directives are available at EPA Quality
Program Directives.

For Reference:

• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP) Standard;
contain quality specifications for EPA and non-EPA organizations and definitions applicable to these
terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans.

• (QAM and/or PO may insert QA references that inform or assist the recipient here).

• EPA's Quality Program website has a list of QA managers, and Specifications for EPA and Non-EPA
Organizations.

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for
Organizations Receiving EPA Financial Assistance.

F. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, it must not be prominently displayed to imply that any of the recipient or
subrecipient's activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the [Insert Recipient or subrecipient NAME] received financial support
from the EPA under an Assistance Agreement. More information is available at: https://www.epa.
gov/stylebook/using-epa-seal-and-logo#policy

G. Competency Policy

Competency of Organizations Generating Environmental Measurement Data
        Case 1:25-cv-00039-JJM-PAS         Document 68-106       Filed 02/07/25      Page 113 of 155
                                             PageID #: 5218
                                                                              5U - 00A01325 - 0   Page 11

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements, Recipient agrees, by entering into this agreement, that it has demonstrated competency prior
to award, or alternatively, where a pre-award demonstration of competency is not practicable, Recipient
agrees to demonstrate competency prior to carrying out any activities under the award involving the
generation or use of environmental data. Recipient shall maintain competency for the duration of the
project period of this agreement and this will be documented during the annual reporting process. A copy
of the Policy is available online at https://www.epa.gov/sites/production/files/2015-
03/documents/competency-policy-aaianew. pdf or a copy may also be requested by contacting the EPA
Project Officer for this award.

H. Public or Media Events

The Recipient agrees to notify the EPA Project Officer listed in this award document of public or media
events publicizing the accomplishment of significant events related to construction projects as a result of
this agreement, and provide the opportunity for attendance and participation by federal representatives
with at least ten (10) working days' notice.

I. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC) endorsed
standards. Information on these standards may be found at https://www.fgdc.gov/.

J. Pre- Award Costs

In accordance with 2 CFR 1500.8, the grantee may charge pre-award costsincurred from 07/01/2024 to the
actual award date provided that such costs were contained in the approved application and all costs are
incurred within the approved budget period.
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 114 of 155
                               PageID #: 5219




                      EXHIBIT M
   Case 1:25-cv-00039-JJM-PAS            Document 68-106        Filed 02/07/25      Page 115 of 155
                                           PageID #: 5220

                              Inflation Reduction Act of 2022 (IRA)
                              Air Quality Sensor Grants §60105(c)
                                            April 26, 2024


Project Title: IRA Air Quality Sensor Grant


Project Period: July 1, 2024 – June 30, 2029


Amount of Funding: $21,925


Place of Performance: Entire State of Rhode Island


Applicant Information: Rhode Island Department of Environmental Management
                              Office of Air Resources
                              235 Promenade Street
                              Providence, RI 02908
                              www.dem.ri.gov


Primary Point of Contact:

                               (401) 537-4396
                               (401) 222-2017 (fax)

Project Background: The Inflation Reduction Act (IRA) passed by Congress in August 2022 provided
funding for direct various air monitoring activities, including funds to deploy, integrate and operate air
quality sensors in low income and disadvantaged communities. Sections 60105 (c) of the IRA provides
funding for grants and other activities authorized under subsections (a) through (c) of sections 103 and
105 of the Clean Air Act to deploy integrate and operate air quality sensors in low-income and
disadvantaged communities.
The Rhode Island Department of Environmental Management Office of Air Resources intends to use
the funds to increase coverage of low-cost sensors across the entire state of Rhode Island. During
widespread wildfire smoke events, the Purple Air monitoring network has proven to be very valuable in
measuring, tracking, and forecasting wildfire smoke. There are currently several gaps across the state
where some fine particle data would prove valuable in tracking and timing the arrival of smoke. The
   Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25     Page 116 of 155
                                           PageID #: 5221

areas outlined in red in Figure 1 show gaps in coverage within the state of RI, but also appear as gaps in
coverage when compared to other New England states.
During 2023, the Northeast US experienced several days of poor air quality from significant Canadian
wildfire smoke. Although not completely unprecedented, the number of days and duration of the
2023 event was significant, as was the acreage burned in Canada. Typically, Rhode Island will
experience light to moderate wildfire smoke from central and westerly North American during fire
season, however, 2023 saw smoke from closer fires in Ontario to our north, which resulted in much
higher PM 2.5 concentrations throughout the region.
During these events, smoke would be moving into RI from the northwest. It would have been quite
helpful for timing of public notice and health messaging, to have PM 2.5 concentrations particularly in
NW Rhode Island. Additionally, once smoke begins to impact a region, it often lingers for days and can
be pushed offshore over the Atlantic and back onshore by sea breezes, making tracking difficult. To
add, during the first smoke event of 2023, Rhode Island experienced wildfire smoke that was
transported from Nova Scotia from our east. Therefore, low-cost sensors would also be helpful along
the southern coastal portions of the state, even Block Island, Little Compton, and south Washington
County so that public notification of poor air quality can promptly be made.
At this point, we are assuming that the current public Purple Air monitors on the current public site,
but operated by private homeowners remain public on the following map:

https://map.purpleair.com/1/m/i/mPM25/a60/p0/cC6#8/41.725/-72.032
However, if any of these privately operated Purple Air monitors come offline, RIDEM may elect to
replace in a nearby location to be determined. See the list for possible sites and locations on Table 1.
With this grant, in addition to having a fleet of low-cost sensors, we intend to have several available for
public loan for special situations when and where monitoring may be valuable, and we intend to have
sensors available for citizen science and educational purposes. In addition to the Purple Air sensors, RI
will invest in up to two SENSIT Spods, 24-hour VOC sensors, to be placed in disadvantaged
communities where there is a need for VOC data in addition to PM25 data or areas experiencing
unique air quality issues where more information is necessary.
   Case 1:25-cv-00039-JJM-PAS             Document 68-106          Filed 02/07/25   Page 117 of 155
                                            PageID #: 5222

Figure 1: Purple Air Monitoring Locations




Table 1: Potential Purple Air Locations
 1        Westerly              Westerly Public Library
 2        Charlestown           Cross Mills Public Library
 3        Block Island          Block Island Free Library
 4        Richmond              Clark Memorial Library
 5        Little Compton        Brownell Library
 6        Coventry              Coventry Public Library
 7        Western Coventry      Green Public Library?
 8        Smithfield            Douglas and Judith Krupp Library (Bryant)
 9        Burrillville          Jessie M Smith Memorial Library
 10       Foster                Public Library


Roles and Responsibilities
The RIDEM OAR will be the primary recipient of the grant funds and will be responsible for oversight of
all tasks related to this grant and assure that all work is done in a timely manner. RIDEM OAR will be
responsible for deploying all sensors equipment in the field, maintaining the sensors, analysis of data
and troubleshooting of sensors.

Key personnel for this project include:

      •                  , a Deputy Administrator in the OAR, with 35 years of experience in air toxics,
          planning and monitoring, will be the Co-Project Manager. She authored and oversees all
          aspects of the 2024 IRA Direct Award, the 2022 ARP Direct Award Grant, the 2020 Community
          Scale Air Toxics Monitoring Grant and 2021 and 2022 Exchange Network grants, prepares and
   Case 1:25-cv-00039-JJM-PAS           Document 68-106        Filed 02/07/25     Page 118 of 155
                                          PageID #: 5223

       reviews QAPPs and relevant SOPs, manages the Section 103 grants and participated in the
       completion of the 2015 Community-Scale Air Toxics Ambient Monitoring grants. She will be
       responsible for EPA grant reporting, assuring that project outcomes, outputs and performance
       measures are met, and oversight of the budget.



   •                  , a State Meteorologist in the OAR, with 20 years of experience in air monitoring
       and meteorology will act as Co-Project Manager for this grant. He will be responsible for
       oversight of all staff working on the program, the sensor ordering process and deployment of
       all sensors.          is currently managing the ARP Direct Award and IRA Direct Award activities.
       Additionally, he continues presentations and community outreach related to the 2020
       Community Scale Air Toxics Grant.             was previously involved in siting of a new ozone
       monitoring site, relocation of the NATTS site, and relocation of the RI Near-Road monitoring
       site.

   •                     , an Air Quality Specialist in the OAR has worked in the private environmental
       sector for nearly 8 years.         has extensive field experience with environmental monitoring,
       particularly air monitoring including HAPSITE ER, vapor intrusion, asbestos, and other
       monitoring.         will be responsible for field operations.


Project Description
§60105(c) of the IRA air quality sensor grant program specifies that the funding must be used for the
deployment, integration, and operation of air sensors in low-income and disadvantaged communities
and all grants must fund activities resulting in the deployment of air sensors in low-income and
disadvantaged communities. RIDEM OAR intends to use this funding to install Purple Air sensors in
areas of RI lacking sensors with a particular emphasis on disadvantages communities. With the funding
RIDEM OAR will purchase up to 18 Purple Air units with the final number dependent on the cost at the
time of purchase. In addition to the Purple Air sensors, RI will invest in up to two SENSIT Spods, 24-
hour VOC sensors, to be placed in disadvantaged communities as identified on the CJEST map. The
locations will be determined after full evaluation of the census tracts for the best locations for the
sensors. The SENSIT Spods will be deployed at each of the locations for a minimum of six months.
    Case 1:25-cv-00039-JJM-PAS                     Document 68-106                Filed 02/07/25    Page 119 of 155
                                                     PageID #: 5224



Justice40 Initiative and Advancing Environmental Justice
This grant program is covered under the Justice40 initiative set forth in Executive Order 14008. The
goal of the Justice 40 initiative is to ensure that “40 percent of the overall benefits of certain Federal
investments flow to disadvantaged communities that are marginalized, underserved, and
                                                                 overburdened by pollution.” For the
                                                                 purposes of this grant program EPA has
                                                                 defined one criteria for disadvantaged
                                                                 communities as “any community that is
                                                                 in any census tract that is identified as
                                                                 disadvantaged in the Climate and
                                                                 Economic Justice Screening Tool
                                                                 (CJEST) 1.”
                                                                                The CJEST mapping tool 2 identifies every
                                                                                county in RI as having as least one
                                                                                disadvantaged area as it meets more
                                                                                than one burden threshold and
                                                                                associated socioeconomic threshold.
                                                                                In supporting the Justice40 initiative, a
                                                                                Purple Air sensor will be sited in
                                                                                disadvantaged communities currently
                                                                                lacking coverage (see Figure 1), as well as
                                                                                other areas in RI abutting disadvantaged
                                                                                communities. This will allow for full
                                                                                coverage of RI especially during wildfire
                                                                                events where it is critical that we track
                                                                                the movement of smoke and PM25
                                                                                levels for advance public notice of
                                                                                unhealthy air conditions approaching.

   Figure 2: RI Census Tracts Identified as Disadvantaged (Climate and Economic Justice
   Screening Tool) 2



In addition to the Purple Air monitors we will be adding 24-hour VOC monitors in communities
identified as disadvantaged to obtain data where RIDEM OAR has not previously had data, or locations
presenting unique and local air quality issues. This data will inform for future policy and decisions. The
data will also help us to identify and address potential air pollution issues.



1 https://www.epa.gov/grants/air-monitoring-and-air-quality-sensors-grants-under-inflation-reduction-act
2 https://screeningtool.geoplatform.gov/en/#9.23/41.7575/-71.4721
   Case 1:25-cv-00039-JJM-PAS                 Document 68-106     Filed 02/07/25   Page 120 of 155
                                                PageID #: 5225



Strategic Plan Linkage
This project supports EPA’s FY 2022-2026 Strategic Plan 3 Goal 4, Ensure Clean and Healthy Air for All
Communities, specifically Objective 4.1, Improve Air Quality and Reduce Localized Pollution and Health
Impacts. In supporting this goal, RIDEM OAR will deploy a network of Purple Air Sensors across the
state. The sensors will help us to identify and address potential air pollution issues so we may more
effectively identify and address existing, emerging, and future issues. EPA’s goal to protect public
health during wildfire smoke events by improving smoke forecasting abilities, identifying, and
communicating when and where smoke events are occurring, building local capacity to be Smoke
Ready, and providing tools and resources for communities for health protection during smoke events is
further supported by the expansion of the Purple Air network in areas of RI previously not monitored.
Consistent with the strategic plan, the environmental outcomes from this grant include may reduce
incidences of respiratory illnesses, including asthma and lung cancer, reduced exposure to air
pollutants, and improved visibility in and near disadvantaged communities.

Project Outputs and Outcomes
Expected project outputs include:

    •   Deployment of air quality sensors in/near low-income or disadvantaged communities;
    •   Real-time air quality data availability for low-income or disadvantaged communities;
    •   Assessments of community-based air quality concerns;
The following outcomes are expected from the project detailed above:

    •   Increased monitoring in disadvantaged communities.
    •   Increased public awareness of ambient air quality.
    •   Information about air quality in previously unmonitored areas.
    •   Potential identification of new air quality issues.
    •   Air monitoring data that supports policy and decision making.
    •   Ability to better inform public of potential air pollution issues.
    •   Better tracking of pollution during wildfire smoke incidents
    •   Benefits for disadvantages communities.




3 https://www.epa.gov/planandbudget/strategicplan
   Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25       Page 121 of 155
                                           PageID #: 5226

Timeline
Following is the timeline for the proposed task indicated in this proposal:
 Task               2024     2025            2026            2027             2028          2029

                    7/24-    1/25-   7/25-   1/26-   7/26-   1/27-   7/27-    1/28-   7/28- 1/29-
                    12/ 24   6/25    12/25   6/26    12/26   6/ 27   12/27    6/28    9/28 6/29

 Grant Awarded      x

 Sensor Bid         x        x       x       x       x       x       x
 Process

 Location           x        x
 Selection
 Equipment                           x       x       x       x       x        x       x
 Installation

 Semi Annual                 x       x       x       x       x       x        x       x
 Report

 Final Report                                                                               x



Performance Measures
The following performance measures will be utilized to track the success of meeting the outcomes of
the project:
    •   Successful installation of sensors.
    •   Semi-annual grant reporting on technical progress, planned activities for the next six months,
        and expenditures.
    •   A final report including: a summary of the project, the problems, successes, and lessons
        learned from the project, advances achieved, and cost of the project, shall be submitted 120
        days after the completion of the performance period of the project.
    •   All work performed on time and within budget.
    •   Updated RIDEM OAR Webpage Information regarding the new sensor network.
   Case 1:25-cv-00039-JJM-PAS             Document 68-106         Filed 02/07/25   Page 122 of 155
                                            PageID #: 5227



BUDGET DETAIL
As shown in the budget table below, the IRA Air Quality Sensor Grant will be used for the purchase of
sensors.
Existing State personnel, equipment and other resources will be leveraged for this project.
Responsibilities of RIDEM OAR and RIDOH APL personnel, financed through a combination of state and
federal grants, include managing the project; ordering equipment and supplies; installation of
equipment; and any other necessary task related to project completion.
 Budget Category                                            Totals

 Personnel                                                  n/a


 Fringe Benefits                                            n/a

 Travel                                                     n/a

 Equipment                                                  $

                            Purple Air      ($344.7/unit)   $6206
                            w/adapter
                            (18)
                            w/shipping
                            Sensit Spod     ($7515/unit)    $15,029
                            (2)w/
                            shipping
 Supplies                                                   $0


 Contractual                                                $

                            Data plans      200/yr.         600
                            for sensors
 Other

 Total Direct Charges                                       $

 Total Indirect Charges                     (14.66%         $90
                                            contract)

 Total Charges                                              $21,925
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 123 of 155
                               PageID #: 5228




                      EXHIBIT N
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 124 of 155
                               PageID #: 5229
            Case 1:25-cv-00039-JJM-PAS                   Document 68-106              Filed 02/07/25           Page 125 of 155
                                                           PageID #: 5230
                                                                                                        5A - 00A00853 - 0   Page 2

                                                     EPA Funding Information
            FUNDS                                      FORMER AWARD                           THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                  $0                         $214,709                                  $214,709
EPA In-Kind Amount                                                      $0                                $0                                        $0
Unexpended Prior Year Balance                                           $0                                $0                                        $0
Other Federal Funds                                                     $0                                $0                                        $0
Recipient Contribution                                                  $0                                $0                                        $0
State Contribution                                                      $0                                $0                                        $0
Local Contribution                                                      $0                                $0                                        $0
Other Contribution                                                      $0                                $0                                        $0
Allowable Project Cost                                                  $0                         $214,709                                  $214,709



Assistance Program (CFDA)                       Statutory Authority                              Regulatory Authority
66.034 - Surveys-Studies-Investigations-        Clean Air Act: Sec. 103                          2 CFR 200, 2 CFR 1500 and 40 CFR 33
Demonstrations and Special Purpose Activities
relating to the Clean Air Act




                                                                       Fiscal
           Site Name                 Req No     FY      Approp.         Budget      PRC       Object   Site/Project      Cost            Obligation /
                                                         Code         Oganization             Class                   Organization       Deobligation
IRA CAA                            230101G056   2231     E1SFX               01V5 000A04XM6    4183               -                  -       $214,709
                                                                                                                                             $214,709
             Case 1:25-cv-00039-JJM-PAS                      Document 68-106    Filed 02/07/25    Page 126 of 155
                                                               PageID #: 5231
                                                                                            5A - 00A00853 - 0   Page 3


Budget Summary Page
                                       Table A - Object Class Category                               Total Approved Allowable
                                             (Non-Construction)                                         Budget Period Cost
 1. Personnel                                                                                                                     $0
 2. Fringe Benefits                                                                                                               $0
 3. Travel                                                                                                                        $0
 4. Equipment                                                                                                                $59,500
 5. Supplies                                                                                                                 $30,209
 6. Contractual                                                                                                             $125,000
 7. Construction                                                                                                                  $0
 8. Other                                                                                                                         $0
 9. Total Direct Charges                                                                                                    $214,709
 10. Indirect Costs: 0.00 % Base -                                                                                                $0
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                               100.00 %)                                                                    $214,709
 12. Total Approved Assistance Amount                                                                                       $214,709
 13. Program Income                                                                                                               $0
 14. Total EPA Amount Awarded This Action                                                                                   $214,709
 15. Total EPA Amount Awarded To Date                                                                                       $214,709
  Case 1:25-cv-00039-JJM-PAS         Document 68-106        Filed 02/07/25      Page 127 of 155
                                       PageID #: 5232
                                                                          5A - 00A00853 - 0   Page 4

                          Attachment 1 - Project Description
This agreement provides funding under the Inflation Reduction Act (IRA). The purpose of
this grant agreement is to obtain air monitoring data in areas they currently do not have data
for and use this data to make informed decisions that will ultimately reduce exposures to
both criteria and toxic air pollutants in Rhode Island.
Specifically, the recipient will install a permanent monitoring site in the Port of Providence,
implement a mobile monitoring program using various mobile and handheld technology, use
air quality sensors to study emissions in areas of interest, including but not limited to schools
operating non-certified wood boilers, quarries, and asphalt plants, and evaluate crematory
hazardous air pollutant emissions. The activities include installation of a permanent
monitoring site in the Port of Providence; conducting mobile monitoring studies where data
acquisition in real time tools (DART), as well as handheld monitoring equipment, will be used
to determine volatile organic compound (VOC) emissions levels. When elevated levels of
are noted with the monitoring equipment, summa canisters will used to take VOC samples
that will be analyzed at the Rhode Island Department of Health Air Pollution Lab for
speciation. This data will help inform inspectors of suspected violations, as well as validate a
facility’s reported emission’s inventory data. Compliance inspections will be performed
based on data collected. Studies will be conducted in environmental justice focus areas
throughout the state, as well as any other identified area of interest. Sensors will be
purchased to monitor air quality in areas of interest including, but not limited to, schools with
recently installed non-certified wood boilers, quarries, and asphalt plants. Data will be used
to determine if further compliance action is necessary. Inspectors will follow up with any
sources potentially linked to elevated data. study of crematories in the state to determine
more accurate particulate emissions levels, as well as emissions levels of various hazardous
air pollutant metals. The study will include stack testing at one or more facilities. Data will be
used across all similar facilities to characterize emissions from crematories for use in
decision making in regard to regulation. The anticipated deliverables include: All relevant
pollutant measurements and meteorological data will be uploaded to an Excel workbook
which will be used for data analysis and will be available to researchers and other interested
parties; For mobile monitoring, route travelled will be documented with results of mobile
monitoring data and sources identified along with compliance actions taken as a result of
sampling. Any spikes detected resulting in further sampling with Summa canisters will be
documented with location data and volatile organic compound (VOC) analysis by the Rhode
Island Department of Health Air Pollution Lab. This data will be stored in an Excel database;
Sensor data will be available in real time on Rhode Island Department of Environmental
Management Office of Air Resources website. A profile will be produced for each sensor
sampling location, including a site description, pollutant information, and an analysis of the
conditions that affect air pollutant levels at that location; Data obtained from crematory study
will be used to characterize crematory emissions from all crematories in the state; Semi-
annual progress reports will be submitted to EPA summarizing technical progress, planned
activities for the next six months, and a summary of expenditures on a schedule to be
determined by EPA; A final report shall be submitted to EPA within 120 calendar days of the
completion of the period of performance. The final report will include a summary of the
  Case 1:25-cv-00039-JJM-PAS        Document 68-106       Filed 02/07/25     Page 128 of 155
                                      PageID #: 5233
                                                                       5A - 00A00853 - 0   Page 5

project, costs of the project discussion of any problems, successes, and lessons learned
from the project that could help overcome structural, organizational, or technical obstacles to
implementing a similar project.
The expected outcomes of the proposed study include: Increased community awareness
through real time access to PM2.5 data in Port area as well as other areas of interest;
Identification of areas experiencing air quality issues where data was previously unavailable;
Air monitoring data that supports decision making; Reduced ambient levels of air pollutants
through compliance inspections resulting from sensor and mobile monitoring data; and
reduced exposures of the public to air pollutants, including air toxics, resulting in fewer
incidences of respiratory illnesses, including asthma and lung cancer.
The intended beneficiaries include residents throughout Rhode Island, as well as
environmental justice focus areas. No subawards are included in this assistance agreement.
  Case 1:25-cv-00039-JJM-PAS             Document 68-106         Filed 02/07/25       Page 129 of 155
                                           PageID #: 5234
                                                                                5A - 00A00853 - 0   Page 6

                                   Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2022-or-later

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

Federal Financial Reports (SF-425): rtpfc-grants@epa.gov
MBE/WBE reports (EPA Form 5700-52A): r1 mbewbereport@epa.gov
All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the
Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to
recipient information (including email addresses, changes in contact information or changes in authorized
representatives) and other notifications: Grants Specialist,                              ; Project Officer,


Workplan revisions, equipment lists, programmatic reports and deliverables:
Quality Assurance documents:                              AND R1QAPPs@epa.gov


B. Pre-Award Costs

In accordance with 2 CFR 1500.9, the recipient may charge otherwise allowable pre-award costs (both
Federal and non-Federal matching shares) incurred from 7/1/2023 to the actual award date provided that
such costs were contained in the approved application and all costs are incurred within the approved
budget period.



                                   Programmatic Conditions
Grant Programmatic Terms and Conditions

A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT

Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports that include brief
information on each of the following areas: 1) A comparison of actual accomplishments to the
  Case 1:25-cv-00039-JJM-PAS            Document 68-106          Filed 02/07/25       Page 130 of 155
                                          PageID #: 5235
                                                                                5A - 00A00853 - 0   Page 7

outputs/outcomes established in the assistance agreement work plan for the period; 2) The reasons why
established outputs/outcomes were not met; and 3) Additional pertinent information, including, when
appropriate, analysis and explanation of cost overruns or high-unit costs.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse conditions which
will materially impair the ability to meet the outputs/outcomes specified in the assistance agreement work
plan are known.

(See Grants Policy Issuance 11-03 State Grant Workplans and Progress Reports for more information)

Performance Reports - Frequency

The recipient agrees to submit semi-annual performance reports electronically to the EPA Project Officer
within 30 days after the reporting periods end (every six-month period). The reporting periods are July 1-
December 31; January 1-June 30.

The recipient must submit the final performance report no later than 120 calendar days after the end date
of the period of performance.

B. Cybersecurity Condition

State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information
Exchange Network or EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA’s regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to
comply with the requirements in (b)(1) if the subrecipient’s network or information system is connected to
EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA’s Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
  Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25       Page 131 of 155
                                          PageID #: 5236
                                                                               5A - 00A00853 - 0   Page 8

Service Agreement between the subrecipient and EPA.

C. Competency Policy

Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements,

Recipient agrees, by entering into this agreement, that it has demonstrated competency prior to award, or
alternatively, where a pre-award demonstration of competency is not practicable, Recipient agrees to
demonstrate competency prior to carrying out any activities under the award involving the generation or
use of environmental data. Recipient shall maintain competency for the duration of the project period of
this agreement and this will be documented during the annual reporting process. A copy of the Policy is
available online at https://www.epa.gov/sites/production/files/2015-03/documents/competency-policy-aaia-
new.pdf or a copy may also be requested by contacting the EPA Project Officer for this award.

D. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at https://www.fgdc.gov/.

E. Quality Assurance

Authority: Quality Assurance applies to all assistance agreements involving environmental information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving environmental information issued under this
agreement include appropriate quality requirements for the work. The recipient shall ensure sub-award
recipients develop and implement Quality Assurance (QA) planning documents in accordance with this
term and condition; and/or ensure sub-award recipients implement all applicable approved QA planning
documents.

The recipient will develop Quality Assurance Project Plans (QAPP) for all applicable projects and tasks
involving environmental information operations in accordance with the most current version of EPA
Requirements for Quality Assurance Project Plans. Regional guidance documents and national guidance
documents may be helpful in meeting the requirements.

“Environmental information operations” is a collective term for work performed to collect, produce,
evaluate, or use environmental information or the design, construction, operation, or application of
environmental technology. For EPA, environmental information includes direct measurements of
environmental parameters or processes, analytical testing of environmental conditions, information
provided by models, information compiled from other sources such as databases, software applications,
or existing literature, the development of environmental software, tools, or models, or the design,
construction, operation, or application of environmental technology.

The QAPP must be approved by EPA prior to environmental information operations, except under
circumstances requiring immediate action to protect human health and the environment or operations
  Case 1:25-cv-00039-JJM-PAS               Document 68-106          Filed 02/07/25        Page 132 of 155
                                             PageID #: 5237
                                                                                    5A - 00A00853 - 0   Page 9

conducted under police powers. Unless an alternate schedule has been agreed upon, QAPPs are to be
submitted at least 60 days before project activities begin. QAPPs are submitted electronically to the
following:

EPA Project Officer (see page 1 of assistance agreement for contact information) and Regional Quality
Assurance Branch via R1QAPPs@epa.gov
*If electronic submission is unavailable, please contact the Project Officer for submittal instructions.

For organizations with an EPA-approved Quality Management Plan (QMP), the recipient will submit an
annual update letter to EPA documenting progress over the year and any changes to the QMP. Annual
update letters will be sent every year for four years until the expiration of the QMP (five years from initial
EPA approval). Annual QA update letters will be sent to the EPA Project Officer and the RQAM on the
anniversary of the approval of the QMP by the RQAM; or on another mutually agreeable schedule. In
addition, for multi-year projects, the grantee shall confirm that the QAPP is current and accurate.

For Reference:

• Quality Management Plan (QMP) Standard and EPA QA/R-5: EPA Requirements for Quality Assurance
Project Plans; contain quality specifications for EPA and non-EPA organizations and definitions applicable
to these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans, Appendix C provides a QAPP Checklist.

• EPA’s Quality Program website has a list of QA managers, and Non-EPA Organizations Quality
Specifications.

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for
Organizations Receiving EPA Financial Assistance.

F. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, it must not be prominently displayed to imply that any of the recipient or
subrecipient’s activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the Rhode Island Department of Environmental Management received
financial support from the EPA under an Assistance Agreement. More information is available at:
https://www.epa.gov/stylebook/using-epa-seal-and-logo#policy

G. DURC/iDURC

The recipient agrees to not initiate any life sciences research involving agents and toxins identified in
Section 6.2.1 of the United States Government Policy for Institutional Oversight of Life Sciences Dual Use
Research of Concern (iDURC Policy) until appropriate review and clearance by the recipient institution’s
Institutional Review Entity (IRE). The recipient also agrees to temporarily suspend life sciences research
in the event that, during the course of the research project, the IRE determines that the life sciences
research meets the definition of DURC in the iDURC Policy, and the recipient agrees to notify the EPA
Institutional Contact for Dual Use Research (ICDUR) (DURC@epa.gov) of the institution’s determination.
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 133 of 155
                               PageID #: 5238




                      EXHIBIT O
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 134 of 155
                               PageID #: 5239
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 135 of 155
                               PageID #: 5240
   Case 1:25-cv-00039-JJM-PAS                 Document 68-106    Filed 02/07/25     Page 136 of 155
                                                PageID #: 5241


    •                 , a Senior Air Quality Specialist in the OAR, with 18 years of experience in air
        monitoring and meteorology will act as Co-Project Manager for this Grant responsible for all
        aspects of equipment selection and siting, oversight of mobile monitoring staff, and
        troubleshooting and maintenance of all equipment, as well as any community engagement and
        data presentation events.        is currently managing the day-to-day activities of the 2020
        Community Scale Air Toxics Grant including monitoring, presentations, and community
        outreach.          was previously involved in siting of a new ozone monitoring site, relocation of
        the NATTS site, and relocation of the RI Near-Road monitoring site.


    •                 , Supervising Environmental Laboratory Scientist, manages the Department of
        Health, Air Pollution Lab, where she has worked for 22 years. She is responsible for supervision
        of VOC and PM25 sample analysis, as well as submitting data to AQS, as necessary.


Project Objectives and Alignment with EPA Strategic Plan:

This project supports EPA’s FY 2022-2026 Strategic Plan 1 Goal 4, Ensure Clean and Healthy Air for
All Communities, specifically Objective 4.1, Improve Air Quality and Reduce Localized Pollution and
Health Impacts. In supporting this goal, modernized air monitoring equipment will be employed in the
permanent monitoring site, allowing for real time data availability in the Port community. The sensors
will also allow us to have real time data in area of concern. The monitoring will help us to identify and
address potential air pollution issues, including air toxics emissions so we may more effectively identify
and address existing, emerging, and future air toxics issues

Consistent with the strategic plan, the environmental outcomes from this grant include reduced
incidences of respiratory illnesses, including asthma and lung cancer, reduced exposure to air toxics, and
improved visibility in and near environmental justice communities.

Outputs, Outcomes and Performance Measures

Outputs

Outputs for this projects include the following:

    •   All relevant pollutant measurements and meteorological data will be uploaded to an Excel
        workbook which will be used for data analysis and will be available to researchers and other
        interested parties.
    •   For mobile monitoring, route travelled will be documented with results of mobile monitoring data
        and sources identified along with compliance actions taken as a result of sampling. Any spikes
        detected resulting in further sampling with Summa canisters will be documented with location data
        and VOC analysis by the RIDOH APL. This data will be stored in an Excel database.
    •   Sensor data will be available in real time on RIDEM OAR website. A profile will be produced for
        each sensor sampling location, including a site description, pollutant information, and an analysis
        of the conditions that affect air pollutant levels at that location.
    •   Data obtained from crematory study will be used to characterize crematory emissions from all
        crematories in the state,

1 https://www.epa.gov/planandbudget/strategicplan
   Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25     Page 137 of 155
                                           PageID #: 5242

   •   Semi-annual progress reports will be submitted to EPA summarizing technical progress, planned
       activities for the next six months, and a summary of expenditures on a schedule to be determined
       by EPA.
   •   A final report shall be submitted to EPA within 120 calendar days of the completion of the period
       of performance. The final report will include a summary of the project, costs of the project
       discussion of any problems, successes, and lessons learned from the project that could help
       overcome structural, organizational, or technical obstacles to implementing a similar project.

Outcomes

Outcomes of the proposed study include:
   • Increased community awareness through real time access to PM25 data in Port area as well as
      other areas of interest.
   • Identification of areas experiencing air quality issues where data was previously unavailable.
   • Air monitoring data that supports decision making.
   • Reduced ambient levels of air pollutants through compliance inspections resulting from sensor and
      mobile monitoring data.
   • Reduced exposures of the public to air pollutants, including air toxics, resulting in fewer incidences
      of respiratory illnesses, including asthma and lung cancer.

Performance Measures

The project will achieve the following measurable results:
   • An Excel workbook that includes pollutant measurements and meteorological data will be created
       to be used for analysis and for future research.
   • A webpage with real time data and study data, as available.
   • Reports summarizing results, conclusions, and recommendations, including profiles of each
       sampling location, will be produced in a timely manner and available on RIDEM OAR webpage.
   • Stack test protocols and final test report for crematory study reviewed and approved by RIDEM
       OAR.
   • Timely and efficient reporting of project progress and expenditure of funds.
       Case 1:25-cv-00039-JJM-PAS            Document 68-106         Filed 02/07/25       Page 138 of 155
                                               PageID #: 5243

    Timeline

    Following is the timeline for the proposed task indicated in this proposal:

Task                      2023           2024                       2025                            2026
                          Q3      Q4     Q1      Q2    Q3    Q4     Q1    Q2    Q3    Q4            Q1    Q2
                          7/23-   10/23- 1/24-   4/24- 7/24- 10/23- 1/25- 4/25- 7/25- 10/25-        1/26- 4/26-
                          9/ 23   12/23 3/24     6/24 9/ 24 12/ 23 3/25 6/25 9/25 12/25             3/26 6/26
Grant Awarded             x
Equipment Bid Process     x       x      x
Contractor Bid Process    x       x      x
Site Selection/Route      x       x      x       x     x       x       x
Plans
Monitoring (all)                  x      x       x     x       x       x      x       x      x      x
Inspections/Enforcement                  x       x     x       x       x      x       x      x      x       x
Data preliminary                                       x       x       x      x       x      x      x
analysis
Semi Annual Progress                     x       x     x       x       x      x       x      x      x       x
Report
Final Analysis and                                                                                          x
Report
   Case 1:25-cv-00039-JJM-PAS              Document 68-106          Filed 02/07/25      Page 139 of 155
                                             PageID #: 5244

                                             BUDGET DETAIL

As shown in the budget table below, the IRA, Section 103 direct award will be used for the purchase of supplies and
equipment, and contract services.

Existing State personnel, equipment and other resources will be leveraged for this project. Responsibilities of
RIDEM OAR and RIDOH APL personnel, financed through a combination of state and federal grants, include
managing the project; ordering equipment and supplies; installation of equipment; modifying the QAPP; obtaining
permits (if necessary) and arranging for installation of the monitoring shelter.

 Budget Category                                                                                    Totals

 Personnel                                                                                           n/a

 Fringe Benefits                                                                                     n/a
 Travel                                                                                              n/a
 Equipment                                    Cost/item             # Of items       Subtotal
                              BAMS            $25,000               1                $25,000
                              Xontech         $9,500                1                $9,500
                              Shelter         $15,000               1                $15,000
                              Handhelds       $5,000                2                $10,000
                                                                                     TOTAL           $ 59,500
 Supplies                     Supplies        Cost/item             # Of items       Subtotal


                              Laptop          $1,500                10             $15,000
                              misc.           $3,209                1              $3,209
                              Sensors         $ 2000                6              $12,000
                                                                                   TOTAL             $30,209
  Contractual                                 Cost/contract         # Of contracts Subtotal
                              Stack Testing $50,000                 1                $50,000
                              Sample        $50,000                 1                $50,000
                              analysis
                              DART          $20,000                 1                $20,000
                              Electric      $5,000                   1               $5,000
                              Hookup Port
                                                                                     TOTAL          $125,000
  Other                                                                                              n/a


 Total Direct Charges                                                                                $214,709
 Total Indirect Charges
 Total Charges                                                                                       $214,709
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 140 of 155
                               PageID #: 5245




                       EXHIBIT P
             Case 1:25-cv-00039-JJM-PAS                         Document 68-106                  Filed 02/07/25            Page 141 of 155
                                                                  PageID #: 5246
                                                                                                                     4Z - 00A01082 - 0   Page 1
                                                                                   GRANT NUMBER (FAIN):          00A01082
                                                                                   MODIFICATION NUMBER:          0                   DATE OF AWARD
                            U.S. ENVIRONMENTAL                                     PROGRAM CODE:                 4Z                  08/22/2023
                                                                                   TYPE OF ACTION                                    MAILING DATE
                            PROTECTION AGENCY                                      New                                               08/25/2023
                                  Cooperative Agreement                            PAYMENT METHOD:                                   ACH#
                                                                                   ASAP                                              10110
RECIPIENT TYPE:                                                                    Send Payment Request to:
State                                                                              Contact EPA RTPFC at: rtpfc-grants@epa.gov
RECIPIENT:                                                                         PAYEE:
Rhode Island D.E.M.                                                                Rhode Island D.E.M.
235 Promenade Street                                                               235 Promenade Street
Providence, RI 02908                                                               Providence, RI 02908
EIN: XX-XXXXXXX
PROJECT MANAGER                                       EPA PROJECT OFFICER                                     EPA GRANT SPECIALIST


235 Promenade Street, Floor 3                          5 Post Office Square, Suite 100                        Grants Management Branch
Providence, RI 02908-5723                              Boston, MA 02109-3912                                  5 Post Office Square, Suite 100
Email:                                                 Email:                                                 Boston, MA 02109-3912
Phone:                                                 Phone:                                                 Email:
                                                                                                              Phone:
PROJECT TITLE AND DESCRIPTION
Solid Waste Infrastructure Financing

See Attachment 1 for project description.


BUDGET PERIOD                            PROJECT PERIOD                            TOTAL BUDGET PERIOD COST                 TOTAL PROJECT PERIOD COST
10/01/2023 - 09/30/2026                  10/01/2023 - 09/30/2026                   $551,877.00                              $551,877.00

                                                                NOTICE OF AWARD
Based on your Application dated 05/31/2023 including all modifications and amendments, the United States acting by and through the US Environmental
Protection Agency (EPA) hereby awards $551,877.00. EPA agrees to cost-share 100.00% of all approved budget period costs incurred, up to and not
exceeding total federal funding of $551,877.00. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to carry
out this award by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of disagreement with
the award terms and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms and conditions
specified in this award, the authorized representative of the recipient must furnish a notice of disagreement to the EPA Award Official within 21 days after the
EPA award or amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw down on the funds
provided by this award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable EPA regulatory and
statutory provisions, all terms and conditions of this agreement and any attachments.

        ISSUING OFFICE (GRANTS MANAGEMENT OFFICE)                                                         AWARD APPROVAL OFFICE
ORGANIZATION / ADDRESS                                                             ORGANIZATION / ADDRESS
U.S. EPA, Region 1 , EPA New England                                               U.S. EPA, Region 1, EPA New England
5 Post Office Square, Suite 100                                                    R1 - Region 1
Boston, MA 02109-3912                                                              5 Post Office Square, Suite 100
                                                                                   Boston, MA 02109-3912
                               THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY
Digital signature applied by EPA Award Official                    - Director, Mission Support Division                                           DATE
                                                                                                                                                  08/22/2023
            Case 1:25-cv-00039-JJM-PAS                     Document 68-106                Filed 02/07/25           Page 142 of 155
                                                             PageID #: 5247
                                                                                                            4Z - 00A01082 - 0   Page 2

                                                       EPA Funding Information
            FUNDS                                       FORMER AWARD                              THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                    $0                           $551,877                                  $551,877
EPA In-Kind Amount                                                        $0                                  $0                                        $0
Unexpended Prior Year Balance                                             $0                                  $0                                        $0
Other Federal Funds                                                       $0                                  $0                                        $0
Recipient Contribution                                                    $0                                  $0                                        $0
State Contribution                                                        $0                                  $0                                        $0
Local Contribution                                                        $0                                  $0                                        $0
Other Contribution                                                        $0                                  $0                                        $0
Allowable Project Cost                                                    $0                           $551,877                                  $551,877



Assistance Program (CFDA)                         Statutory Authority                                Regulatory Authority
66.920 - Solid Waste Infrastructure Financing -   33 USC 4282 & Infrastructure Investment and        2 CFR 200, 2 CFR 1500 and 40 CFR 33
Save Our Seas Act Grants                          Jobs Act (IIJA) (PL 117-58)




                                                                         Fiscal
           Site Name                   Req No     FY     Approp.          Budget        PRC       Object   Site/Project      Cost            Obligation /
                                                          Code          Oganization               Class                   Organization       Deobligation
-                                   230101G054     22        E1SD              01V5   000D11X81    4183               -                  -       $551,877
                                                                                                                                                 $551,877
             Case 1:25-cv-00039-JJM-PAS                      Document 68-106    Filed 02/07/25     Page 143 of 155
                                                               PageID #: 5248
                                                                                             4Z - 00A01082 - 0   Page 3


Budget Summary Page
                                       Table A - Object Class Category                                Total Approved Allowable
                                             (Non-Construction)                                          Budget Period Cost
 1. Personnel                                                                                                                 $48,580
 2. Fringe Benefits                                                                                                           $33,915
 3. Travel                                                                                                                         $0
 4. Equipment                                                                                                                      $0
 5. Supplies                                                                                                                       $0
 6. Contractual                                                                                                              $275,000
 7. Construction                                                                                                                   $0
 8. Other                                                                                                                    $185,515
 9. Total Direct Charges                                                                                                     $543,010
 10. Indirect Costs: 18.25 % Base -                                                                                            $8,867
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                               100.00 %)                                                                     $551,877
 12. Total Approved Assistance Amount                                                                                        $551,877
 13. Program Income                                                                                                                $0
 14. Total EPA Amount Awarded This Action                                                                                    $551,877
 15. Total EPA Amount Awarded To Date                                                                                        $551,877
  Case 1:25-cv-00039-JJM-PAS        Document 68-106       Filed 02/07/25      Page 144 of 155
                                      PageID #: 5249
                                                                        4Z - 00A01082 - 0   Page 4

                          Attachment 1 - Project Description
This agreement provides funding from the Infrastructure Investment and Jobs Act (IIJA).
EPA's Solid Waste Infrastructure for Recycling (SWIFR) grants for states and territories will
fund activities that support long-term planning and data collection needs to demonstrate
progress toward the National Recycling Goal and Food Loss and Waste Reduction Goal and
advance a Circular Economy for materials, as well as support the state-led implementation
of plans to advance post-consumer materials management. The purpose of this award is to
enhance the Rhode Island Department of Environmental Managment's efforts to meet the
SWIFR grants elements. The activities to be performed by the State of Rhode Island are:
• Update the Rhode Island Comprehensive Solid Waste Management Plan
• Develop a Data Management System
• Perform Projects to Improve recycling and organics collection and management in Rhode
Island including technical assistance to business on food recovery and food waste diversion,
implement the Get Food Smart Rhode Island program in K-12 schools and develop
resources to promote the growth on the composting infrastructure within the state. The
anticipated deliverables and the expected outcomes include:
1) Develop/Update plans: Update the Rhode Island Comprehensive Solid Waste
Management Plan (RICSWMP) with the outcome of • Number of disadvantaged
communities (as defined in this Guidance) served by the plan. • Number of temporary or
permanent jobs created. Develop and Enhance data collection and measurement:
2) Develop a Data Management System with the outcomes of • Tons of MSW/C&D
collected, recycled, composted, or managed via other management pathways in the state as
a result of the grant. • Tons of MSW/C&D generated per material type and source in the
state as a result of the grant (e.g., plastic and food waste). • GHGs reduced (in MTCO2e)
from collection, recycling, composting, or management via other management pathways in
the state as a result of the grant. • Number of temporary or permanent jobs created.
3) Perform Projects to Improve recycling and organics collection and management in Rhode
Island including technical assistance to businesses, report on permitting process for
compost and anerobic digestion operators; market development analysis for finished
compost and technical assistance for Rhode K-12 schools to implement the Get Food Smart
RI toolkit with the outcomes of • Tons of MSW/C&D collected, recycled, composted, or
managed via other management pathways in the state as a result of the grant. • Tons of
MSW/C&D generated per material type and source in the state as a result of the grant (e.g.,
plastic and food waste). • GHGs reduced (in MTCO2e) from collection, recycling,
composting, or management via other management pathways in the state as a result of the
grant. • Number of disadvantaged communities (as defined in this Guidance) served
because of plan implementation. • Number of temporary or permanent jobs created.
The intended beneficiaries include the residents, institutions and businesses in the state of
Rhode Island.
  Case 1:25-cv-00039-JJM-PAS        Document 68-106       Filed 02/07/25      Page 145 of 155
                                      PageID #: 5250
                                                                        4Z - 00A01082 - 0   Page 5

Sub-Award recipient activities:
University of Rhode Island --- The University of Rhode Island as part of their “Plastics: Land
to Sea” initiative will be awarded $44,638 to convene a cross-disciplinary task force with
private and public sector participation to embark on the broad topic of Bioplastics with a
focus on the points of consideration of the White House Executive Order1 for biotechnology
and biomanufacturing and shifting away from petroleum-based plastics. The main area of
focus will be on the impact of bioplastics to MRF operations within the State of Rhode Island
with expected programmatic outcome of a group of stakeholders with diverse interests in
bioplastics and expected environmental outcomes of advancing the understanding and
identification of opportunities and challenges of developing bioplastics within a circular
economy.
Environmental Council of Rhode Island Education Fund --- The Rhode Island Schools
Recycling Club will advance their well-established grassroots programs for recycling and
organics diversion by formalizing the program with training manuals, hiring staff, and
expanding the program into additional schools. This work effort will occur in tandem with
expansion of the program within the City of Providence school system that has been
awarded a USDA grant for similar activities. We anticipate providing a sub award for
$35,000 to their fiscal agent the Environmental Council of Rhode Island Education Fund who
will provide the funds to the Rhode Island Schools Recycling Club for the
activities/outputs/outcomes listed in the activities narrative table.
Center for EcoTechnology --- The Center for EcoTechnology will be awarded $80,000 to
advance existing and new efforts to reduce food loss, expand organics processing capacity,
and mobilize efforts for a circular economy. The work effort will be split into four efforts for
technical assistance for food waste generators that aligns with the Rhode Island Food Waste
Ban2, improvements to the application and permitting process for organics processing
facilities, technical assistance for organics processing facilities, and the market development
for the circular economy of re-use of the finished compost material. Some of these efforts
may be achieved by CET contracting services with other organizations. The initial grant
design expects to award $20,000 per deliverable but within the cooperative arrangement we
anticipate making the best use of funds available which may include reallocating funds
between tasks over the course of the project period.
Non-Governmental Organization (TBD) --- We anticipate awarding a non-governmental
organization a sub award in the amount of $25,711 to advance work efforts in disadvantaged
communities by performing boots on the ground outreach and community activation to
identify the opportunities and barriers for increasing recycling, reducing contamination within
recycling, and responsibly managing food resources to maximize edible food usage and to
reduce food waste, as part of the activities/outputs/outcomes listed in the activities narrative
table.
  Case 1:25-cv-00039-JJM-PAS             Document 68-106         Filed 02/07/25       Page 146 of 155
                                           PageID #: 5251
                                                                                4Z - 00A01082 - 0   Page 6

                                   Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2022-or-later

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

Federal Financial Reports (SF-425): rtpfc-grants@epa.gov
MBE/WBE reports (EPA Form 5700-52A): r1 mbewbereport@epa.gov
All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the
Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to
recipient information (including email addresses, changes in contact information or changes in authorized
representatives) and other notifications: Grants Specialist,                              ; Project Officer,


Workplan revisions, equipment lists, programmatic reports and deliverables:
Quality Assurance documents:                              AND R1QAPPs@epa.gov


                                   Programmatic Conditions
Solid Waste Infrastructure for Recycling - State Grant Programmatic Terms and Conditions

A. Performance Reporting and Final Performance Report

Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports that include brief
information on each of the following areas: 1) A comparison of actual accomplishments to the
outputs/outcomes established in the assistance agreement work plan for the period; 2) The reasons why
established outputs/outcomes were not met; and 3) Additional pertinent information, including, when
appropriate, analysis and explanation of cost overruns or high-unit costs.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse conditions which
will materially impair the ability to meet the outputs/outcomes specified in the assistance agreement work
plan are known.
  Case 1:25-cv-00039-JJM-PAS             Document 68-106          Filed 02/07/25       Page 147 of 155
                                           PageID #: 5252
                                                                                 4Z - 00A01082 - 0   Page 7

Performance Reports - Frequency

The recipient agrees to submit semi-annual (every six-month period) performance reports electronically
to the EPA Project Officer within 30 days after the reporting period (every six-month period). The reporting
periods are October 1 to March 30 and April 1 to September 30 annually.

The recipient agrees to submit a Final Performance Report to the EPA Project Officer no later than120
calendar days after the end date of the period of performance.

Subaward Performance Reporting .

The recipient must report on its subaward monitoring activities under 2 CFR 200.332(d). Examples of
items that must be reported if the pass-through entity has the information available are:

1. Summaries of results of reviews of financial and programmatic reports.

2. Summaries of findings from site visits and/or desk reviews to ensure effective subrecipient
performance.

3. Environmental results the subrecipient achieved.

4. Summaries of audit findings and related pass-through entity management decisions.

5. Actions the pass-through entity has taken to correct deficiencies such as those specified at 2 CFR
200.332(e), 2 CFR 200.208 and the 2 CFR Part 200.339 Remedies for Noncompliance.

B. Cybersecurity Condition

State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information
Exchange Network or EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA’s regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to
comply with the requirements in (b)(1) if the subrecipient’s network or information system is connected to
  Case 1:25-cv-00039-JJM-PAS             Document 68-106         Filed 02/07/25         Page 148 of 155
                                           PageID #: 5253
                                                                                  4Z - 00A01082 - 0   Page 8

EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA’s Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and EPA.

C. Competency Policy

Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements,

Recipient agrees, by entering into this agreement, that it has demonstrated competency prior to award, or
alternatively, where a pre-award demonstration of competency is not practicable, Recipient agrees to
demonstrate competency prior to carrying out any activities under the award involving the generation or
use of environmental data. Recipient shall maintain competency for the duration of the project period of
this agreement and this will be documented during the annual reporting process. A copy of the Policy is
available online at https://www.epa.gov/sites/production/files/2015-03/documents/competency-policy-aaia-
new.pdf or a copy may also be requested by contacting the EPA Project Officer for this award.

D. Quality Assurance

Authority: Quality Assurance applies to all assistance agreements involving environmental information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

1. Quality Assurance Project Plan (QAPP)

a. Prior to beginning environmental information operations, the recipient must:

i. Develop a QAPP,

ii. Prepare QAPP in accordance with the current version of EPA QA/R-5: EPA Requirements for Quality
Assurance Project Plans,

iii. Submit the document for EPA review, and

iv. Obtain EPA Quality Assurance Manager or designee (hereafter referred to as QAM) approval.

b. The recipient must submit the QAPP 90 days after grant award

c. The recipient shall notify the PO and QAM when substantive changes are needed to the QAPP. EPA
may require the QAPP be updated and re-submitted for approval.

d. The recipient must review their approved QAPP at least annually. The results of the QAPP review and
any revisions must be submitted to the PO and the QAM at least annually and may also be submitted
when changes occur.
  Case 1:25-cv-00039-JJM-PAS             Document 68-106          Filed 02/07/25        Page 149 of 155
                                           PageID #: 5254
                                                                                  4Z - 00A01082 - 0   Page 9

For Reference:

• Quality Management Plan (QMP) Standard and EPA QA/R-5: EPA Requirements for Quality Assurance
Project Plans; contain quality specifications for EPA and non-EPA organizations and definitions applicable
to these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans, Appendix C provides a QAPP Checklist.

• (QAM and/or PO may insert QA references that inform or assist the recipient here).

• EPA’s Quality Program website has a list of QA managers, and Non-EPA Organizations Quality
Specifications.

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for
Organizations Receiving EPA Financial Assistance.

E. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, it must not be prominently displayed to imply that any of the recipient or
subrecipient’s activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the [Insert Recipient or subrecipient NAME] received financial support
from the EPA under an Assistance Agreement. More information is available at:
https://www.epa.gov/stylebook/using-epa-seal-and-logo#policy

F. Paperwork Reduction Act

Notwithstanding any references to collection of information in the recipient’s application or proposal for
EPA funding, the scope of work for this cooperative agreement does not include a survey or other
information collection of identical information from 10 or more parties. No EPA funds (directly paid by
EPA or from the recipient’s cost share) may be used for the design or administration of such an
information collection, and EPA personnel may not participate in such activities. Reasonable costs for
analyzing independently collected information and publishing the results of such information collections
are allowable to the extent authorized in the EPA approved budget for this agreement.

G. Substantial Involvement

EPA will be substantially involved in this agreement. Substantial involvement by the EPA Project Officer
may include (but is not limited to):

1) monthly or quarterly telephone calls and other monitoring (or meeting on an alternate schedule
suggested by EPA’s Project Officer),

2) reviewing project phases and providing approval to continue to the next phase,

3) reviewing and commenting on any documents, web content, or other materials developed under this
agreement (the recipient will make final decisions on these matters),

4) approving substantive terms included in contracts or subawards (EPA’s Project Officer will not suggest,
recommend or direct the recipient to select any particular contractor or subrecipient except to the extent
  Case 1:25-cv-00039-JJM-PAS             Document 68-106          Filed 02/07/25        Page 150 of 155
                                           PageID #: 5255
                                                                                 4Z - 00A01082 - 0   Page 10

permitted in Section 10 of EPA’s Subaward Policy).

5) reviewing and commenting on the programmatic progress reports

6) Consultation with EPA regarding the selection of key personnel (EPA’s involvement is limited to
reviewing the technical qualifications of key personnel and the recipient will make the final decisions on
selection. EPA’s Project Officer will not suggest, recommend or direct the recipient to select any
individual).

7) Joint operational involvement, participation, and/or collaboration between EPA and the recipient. EPA’s
Project Officer or designee may provide data, advice, and information that will help the grantee carry out
the agreement effectively.
Case 1:25-cv-00039-JJM-PAS   Document 68-106    Filed 02/07/25   Page 151 of 155
                               PageID #: 5256
            Case 1:25-cv-00039-JJM-PAS                     Document 68-106              Filed 02/07/25            Page 152 of 155
                                                             PageID #: 5257
                                                                                                            4Z - 00A01082 - 1   Page 2

                                                     EPA Funding Information
              FUNDS                                    FORMER AWARD                              THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                          $ 551,877                                   $0                             $ 551,877
EPA In-Kind Amount                                                      $0                                  $0                                   $0
Unexpended Prior Year Balance                                           $0                                  $0                                   $0
Other Federal Funds                                                     $0                                  $0                                   $0
Recipient Contribution                                                  $0                                  $0                                   $0
State Contribution                                                      $0                                  $0                                   $0
Local Contribution                                                      $0                                  $0                                   $0
Other Contribution                                                      $0                                  $0                                   $0
Allowable Project Cost                                          $ 551,877                                   $0                             $ 551,877



Assistance Program (CFDA)                         Statutory Authority                                Regulatory Authority
66.920 - Solid Waste Infrastructure Financing -   33 USC 4282 & Infrastructure Investment and Jobs   2 CFR 200, 2 CFR 1500 and 40 CFR 33
Save Our Seas Act Grants                          Act (IIJA) (PL 117-58)
             Case 1:25-cv-00039-JJM-PAS                      Document 68-106    Filed 02/07/25     Page 153 of 155
                                                               PageID #: 5258
                                                                                             4Z - 00A01082 - 1   Page 3

Budget Summary Page
                                       Table A - Object Class Category                                Total Approved Allowable
                                             (Non-Construction)                                          Budget Period Cost
 1. Personnel                                                                                                                       $0
 2. Fringe Benefits                                                                                                                 $0
 3. Travel                                                                                                                          $0
 4. Equipment                                                                                                                       $0
 5. Supplies                                                                                                                        $0
 6. Contractual                                                                                                                     $0
 7. Construction                                                                                                                    $0
 8. Other                                                                                                                    $ 523,891
 9. Total Direct Charges                                                                                                     $ 523,891
 10. Indirect Costs: 18.63 % Base -                                                                                           $ 27,986
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                                    $ 551,877
 12. Total Approved Assistance Amount                                                                                        $ 551,877
 13. Program Income                                                                                                                 $0
 14. Total EPA Amount Awarded This Action                                                                                           $0
 15. Total EPA Amount Awarded To Date                                                                                        $ 551,877
        Case 1:25-cv-00039-JJM-PAS       Document 68-106      Filed 02/07/25     Page 154 of 155
                                           PageID #: 5259
                                                                           4Z - 00A01082 - 1   Page 4

                                     Administrative Conditions
All Administrative Terms and Conditions remain unchanged and in full effect.
       Case 1:25-cv-00039-JJM-PAS       Document 68-106      Filed 02/07/25        Page 155 of 155
                                          PageID #: 5260
                                                                             4Z - 00A01082 - 1   Page 5

                                    Programmatic Conditions
All Programmatic Terms and Conditions remain unchanged and in full effect.
